  Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 1 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                 Page 20
   1                  A.        Yes.

   2                  Q.        Great.

   3                            MR. NKWONTA:                  You can take that

   4             down.         And can we pull up Document 75,

   5             please.

   6                                     (Exhibit 75 marked for

   7                                       identification.)

   8        BY MR. NKWONTA:

   9                  Q.        Ms. Engelbrecht, do you recognize

 10         Document 75?          Have you seen this document before?

 11                   A.        Yes.

 12                   Q.        And this is a deposition notice

 13         issued to you individually; is that correct?

 14                   A.        Yes.

 15                   Q.        And do you understand that you are

 16         also being deposed today in your individual

 17         capacity?

 18                   A.        Yes.

 19                   Q.        Okay.          And as we have done with the

 20         prior deposition in this case, we will ask that

 21         you agree that your answers today will be

 22         attributed to you and/or True the Vote, unless we



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  Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 2 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 21
   1        specify otherwise, or you specify otherwise in

   2        the deposition in response to that question.                                        Is

   3        that fair?

   4                  A.        Yes.

   5                            MR. NKWONTA:                 And do you agree to

   6             that, counsel.

   7                            MR. BOPP:              Do I agree to what?

   8                            MR. NKWONTA:                 That Ms. Engelbrecht's

   9             answers will be attributed to Ms. Engelbrecht

 10              and True the Vote, unless she specifies

 11              otherwise in response, just as we did

 12              yesterday?

 13                            MR. BOPP:               I assume your questions

 14              are directed at her in both capacities.

 15                            THE VIDEOGRAPHER:                        And counsel,

 16              sorry.        I apologize.                This is Joe.              I just

 17              want to make sure for clarity that

 18              Document 75 and 76, will those be entered

 19              into as exhibits?

 20                            MR. NKWONTA:                  Yes, those will be

 21              entered in as exhibits.

 22                            I think what might be best is I will



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  Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 3 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 22
   1             continue to refer to them throughout the

   2             deposition as 75 and 76.                           And then we can

   3             decide after the fact whether we want to

   4             number them sequentially.                            Is that fair?

   5                           THE VIDEOGRAPHER:                        Understood.

   6        BY MR. NKWONTA:

   7                  Q.       Ms. Engelbrecht, I want to start

   8        with some background questions for you.

   9                           Where do you currently reside?

 10                   A.       In Cat Spring, Texas.

 11                   Q.       Are you a Texas native?

 12                   A.       Yes.

 13                   Q.       And what do you do for a living?

 14                   A.       In addition to my work with True the

 15         Vote, I am the co-founder of a healthcare fintech

 16         software company.

 17                   Q.       What is your role with True the

 18         Vote?

 19                   A.       I am both the founder of the

 20         organization and its current president.

 21                   Q.       Sorry, I didn't hear the last bit of

 22         your answer.         Do you mind repeating that?



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  Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 4 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.     Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                  Page 23
   1                  A.       So sorry.               Sure, with respect to

   2        True the Vote, I am the founder of the

   3        organization and its current president.

   4                           MR. BOPP:               And, Catherine, please

   5             don't interrupt him.                      Let -- if he needs to

   6             say something, just sit tight.                                   Okay?

   7                           THE WITNESS:                  Sure.

   8        BY MR. NKWONTA:

   9                  Q.       When was True the Vote founded?                                    You

 10         mentioned that you are the founder.

 11                            When did you launch True the Vote?

 12                   A.       We started as a organization in late

 13         2009 and filed official paperwork for its

 14         designation under the IRS rules as a nonprofit in

 15         2010, in the summer of 2010.

 16                   Q.       What was True the Vote's mission

 17         when the organization first launched in 2009 or

 18         2010?

 19                   A.       We had learned that there were not

 20         enough poll watchers or poll workers broadly.

 21         And that seemed like a good project to take on

 22         just to encourage people to work in the polls.



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  Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 5 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 24
   1        And then from there we became more aware of other

   2        challenges in the system.

   3                  Q.        And what types of activities did

   4        True the Vote engage in when it first launched in

   5        2009/2010?

   6                  A.        First, understanding the process

   7        where we started which was in Harris County,

   8        Texas.

   9                            So, understanding the process of our

 10         elections.         Understanding the need for volunteers

 11         and where those volunteers -- how they can be

 12         placed and the rules around those placements.

 13         And that was the origin of the organization and

 14         our activities.

 15                   Q.       You mentioned assessing the need for

 16         volunteers and where those volunteers needed to

 17         be placed.

 18                            In that initial period when you

 19         launched True the Vote, where did you, your

 20         organization determine the greatest needs were?

 21                   A.       Well, to make that determination we

 22         met with -- in Harris County there is a -- the



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  Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 6 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 35
   1        terms of your role with the organization.

   2                           How many employees did King Street

   3        Patriot have when the organization was first

   4        launched?

   5                  A.       Oh, first launched, none.                             We didn't

   6        have any employees for several years.

   7                  Q.       And did you ever have employees or

   8        did you rely solely on volunteers and outside

   9        contractors?

 10                   A.       We did have, as I recall, one or two

 11         employees, but it was far and away run by

 12         volunteers.

 13                   Q.       Were you also in charge of the

 14         day-to-day operations with respect to

 15         communications including press or other types of

 16         media?

 17                   A.       I would have certainly had a

 18         leadership role, or as I commented earlier, would

 19         have made it a goal to always look at things that

 20         were being published.

 21                            But it was, with King Street

 22         particularly more volunteer oriented and less, or



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  Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 7 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 36
   1        less structured.

   2                  Q.       So, just to be a little bit more

   3        specific, if there was a press release issued by

   4        King Street Patriots, would that press release

   5        have come from an employee or from you, or would

   6        it have been something that you would have

   7        overseen or supervised?

   8                  A.       It could have -- really any of those

   9        could have been accurate.                        It may have been

 10         something that a volunteer wrote.                                 It would

 11         certainly have been something that I would have

 12         wanted to have seen.

 13                            Although I can't attest to having

 14         seen everything, unfortunately.

 15                   Q.       The standard practice was to, -- was

 16         for you to be able to approve all of the

 17         communications and the media that would come out

 18         of King Street Patriots, is that fair?

 19                   A.       That was the goal.                         That was the

 20         goal.

 21                   Q.       Have you heard of the organization

 22         called Time for a Hero?



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  Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 8 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                 Page 37
   1                  A.        Yes.

   2                  Q.        And what is your connection to that

   3        organization?

   4                  A.        The organization no longer is

   5        active, but that was an organization started by

   6        myself and Gregg Phillips.

   7                            The purpose of that organization was

   8        to assist with the needs of Special Forces

   9        Veterans.          And it started out sort of broadly

 10         looking to support the needs that ultimately

 11         turned into sort of a medical missions driven

 12         program.

 13                             And it was --

 14                   Q.        When did --

 15                   A.        Sorry, go ahead.

 16                   Q.        No, you finish your answer.

 17                   A.        It was -- well, I was about to say

 18         I'm not even really -- I don't quite remember

 19         when it started or ended.                         It was -- I'm sorry,

 20         please ask your question.

 21                   Q.        I was going to ask when it started.

 22                   A.        Let me think.                   20 -- I don't clearly



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  Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 9 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 38
   1        remember, is probably my best answer.                                  2018'ish,

   2        2019.     But, I don't clearly remember.

   3                  Q.       So, after 2015, is that fair to say?

   4                  A.       Yes, yes.

   5                  Q.       And is that organization still in

   6        existence or still in operation?

   7                  A.       No.

   8                  Q.       When did the organization cease

   9        to -- cease all operations, I should say?

 10                   A.       As a practical matter we stopped

 11         doing -- we stopped doing activities, I guess, in

 12         2020, in late 2019 and early 2020.

 13                            But then submitted paperwork to the

 14         IRS, the final tax filing and so forth in 2020.

 15                   Q.       And why did the organization cease

 16         operations?

 17                   A.       We had the -- for a variety of

 18         reasons.       The hope of the organization was to

 19         support the medical needs or certain of the

 20         medical needs of Special Forces Veterans with

 21         traumatic brain juries.                      And that is a tall

 22         order.



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 10 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 39
   1                            There is a lot of things that you

   2        don't think about that will come with that.                                        And

   3        so, and there is so many new organizations that

   4        were better equipped to, I think, handle that.

   5                            And you know, we were just doing

   6        what we could.           I think we helped other

   7        organizations kind of find their footing but then

   8        at that point there was no real need for us to

   9        continue on.

 10                   Q.       Sounds like a lot of work.

 11                   A.       You know, it is, it is a lot.                                 It is

 12         a lot.

 13                   Q.       What was your role within Time for a

 14         Hero?

 15                   A.       I don't remember the structural --

 16         my structural designation in terms of the

 17         paperwork.         I don't remember if I was president

 18         or vice president.

 19                            But it was very sort of equally,

 20         equally yoked between Greg Phillips and myself.

 21         And primarily what I did was support the, support

 22         the intake, the review of applications for



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 11 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 43
   1        contractor, were both veterans themselves and

   2        very single-minded in their desire to

   3        communicate.

   4                           And so they oftentimes just

   5        communicated without --

   6                  Q.       And again --

   7                  A.       -- clear oversight from the Board.

   8                  Q.       And would they communicate on their

   9        own behalf or on behalf of Time for a Hero?

 10                   A.       I did not -- I have not seen

 11         everything that was ever put out.

 12                            I would, I would venture to say that

 13         it would -- their approach would have found it to

 14         be a little bit of both.                       That they would have

 15         communicated personally with their own

 16         experiences and then on behalf of the

 17         organization.

 18                   Q.       And would you have seen all of the

 19         communications that have come out from Time for a

 20         Hero?

 21                   A.       No.        No, I would -- I don't think

 22         so.



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 12 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 44
   1                  Q.       Do you have access to any of the

   2        organizations' press releases or statements?

   3                  A.       I may have some.                       I don't have all.

   4        Certainly I don't have all.                          I don't have access

   5        to any of the social media stuff anymore.

   6                  Q.       Did you at any point have access to

   7        any of the organizations' social media accounts?

   8                  A.       I would have known their log-ins.                                    I

   9        never posted anything that I recall.

 10                            But in the later periods of the

 11         organization, the individual who was organizing

 12         that or was overseeing the operation used it --

 13         changed the passwords and we didn't have them.

 14                   Q.       So, the two gentlemen that you spoke

 15         of who were also involved with the organization,

 16         what were their names?

 17                   A.       The first gentleman who ran the

 18         organization for a period was Travis -- I cannot

 19         remember his last name.                      I apologize.              And then

 20         the second gentleman was short lived.                                  His name

 21         escapes me.        I apologize.                  I don't recall his

 22         name.     I should.           I just don't.                   It is not coming



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 13 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 45
   1        to me right now.

   2                  Q.       What was his position?

   3                           MR. BOPP:               I have to unmute myself.

   4             I would like to talk to my client for one

   5             minute here.

   6                           So, if Catherine, you would turn off

   7             your video and your audio, I will do the same

   8             and I will call you.

   9                           MR. NKWONTA:                  Mr. Bopp --

 10                            THE WITNESS:                  Okay.

 11                            MR. NKWONTA:                  Mr. Bopp, I, I assert

 12              an objection to you conferring with your

 13              client about a pending question.                                 As you know

 14              that is improper under the federal rules, and

 15              I would ask that you allow --

 16                            MR. BOPP:               You can purport to

 17              instruct me however you wish.                                Good-bye.

 18                            THE VIDEOGRAPHER:                        Counsel, do you

 19              want to go off the record?

 20                            MS. BRYAN:                Are we still on the

 21              record?

 22                            MR. NKWONTA:                  No, I believe Joe said



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 14 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 46
   1             we are off the record.

   2                           MS. BRYAN:                I would recommend that

   3             you stay on the record and record the time

   4             that Bob left and the time Bob comes back on.

   5                           MR. NKWONTA:                  We can do that, but

   6             that will still be reflected on the --

   7             whether we are on or off the record, right?

   8                           MS. BRYAN:                Well, that is true.                    You

   9             are right.

 10                            MR. NKWONTA:                  So, let's go off the

 11              record just to save time.

 12                            THE VIDEOGRAPHER:                        We are now going

 13              off the video record, the time is 8:50 a.m.

 14                            (Recess taken -- 8:50 a.m.)

 15                            (After recess -- 8:55 a.m.)

 16                            THE VIDEOGRAPHER:                        We are now going

 17              back on the video record.                            The time is

 18              8:55 a.m.

 19         BY MR. NKWONTA:

 20                   Q.       Ms. Engelbrecht, we just took a

 21         short break.         Now we are back on the record.

 22                            Do you recognize that you are still



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 15 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 47
   1        under oath?

   2                  A.       Yes.

   3                  Q.       During the break, did you discuss

   4        with your counsel any of the questions that I

   5        asked or the response to the question that I had

   6        asked before you took a break?

   7                           And I'm asking this without

   8        disclosing the, what you actually discussed.                                        I'm

   9        asking whether you discussed the content of the

 10         question that I asked before we took a break?

 11                   A.       No.

 12                   Q.       So, you did not discuss any of my

 13         questions about Time for a Hero before we took a

 14         break?

 15                   A.       No.

 16                   Q.       During that break you did not

 17         discuss any of the questions that I asked

 18         regarding Time for a Hero with Mr. Bopp?

 19                   A.       No.

 20                            MR. NKWONTA:                  Okay.          Joe, could we

 21              pull up Exhibit 74, please.

 22                                     (Exhibit 74 marked for



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 16 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 60
   1        volunteers working inside of elections.

   2                           And the thought behind the outreach

   3        was that these were folks that are very good at

   4        chain of command, at understanding process.

   5                           And in our experience they make

   6        great volunteers for these kinds of things,

   7        because often when you have people who are very

   8        well intended, but they are not as familiar with

   9        that construct of, you know, ordered processing

 10         and very observant of standards and time periods

 11         in which things must be reported in an orderly

 12         fashion, that can throw people.

 13                            And for people that come out of

 14         backgrounds that are more oriented towards that

 15         chain of command, that works, they do really

 16         well.     And so that was the thought behind

 17         Continue to Serve.

 18                            MR. NKWONTA:                  Joe, can you pull up

 19              Exhibit 65 or Document 65.

 20                                     (Exhibit 65 marked for

 21                                       identification.)

 22         BY MR. NKWONTA:



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 17 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 61
   1                  Q.       Ms. Engelbrecht, Document 65 is a

   2        transcript of a statement that you made which we

   3        had transcribed and which we -- which True the

   4        Vote acknowledged in response to one of our

   5        requests for admission that this was a correct --

   6        it is a true and correct transcript.

   7                           MR. NKWONTA:                  Joe, can you go to --

   8                           MR. BOPP:               I'm sorry, I have a

   9             question.         I didn't understand what you just

 10              said.

 11                            What is the date of this, did you

 12              say?

 13                            MR. NKWONTA:                  The date of this

 14              transcript?

 15                            MR. BOPP:               Yes.         You gave a date.

 16                            MR. NKWONTA:                  August 13, 2021.

 17                            MR. BOPP:               Okay, all right, thank

 18              you.      Sorry, I didn't understand what you

 19              said.

 20                            MR. NKWONTA:                  Joe, can you go to the

 21              second page of this transcript.

 22         BY MR. NKWONTA:



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 18 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 62
   1                  Q.       Ms. Engelbrecht, can you read this

   2        second paragraph into the record.

   3                  A.       "Of interest here, we have a new

   4        initiative called Continue to Serve which is

   5        about recruiting veterans and first responders to

   6        work inside the polls.                     You want to talk about

   7        people who understand and respect law and order

   8        and chain of command, you get Seals in the polls.

   9                           "And they're going to say no, no,

 10         that is not -- this is what it says and this is,

 11         this is how we're going to play the show.                                      And

 12         that's what we need."

 13                   Q.       When you were making this statement

 14         and when you were referring to Seals in the

 15         polls, who did you envision them referring to or

 16         interacting with?

 17                   A.       Well -- I'm sorry.                         Can you repeat

 18         the question?

 19                   Q.       Sure.          Who did you envision -- when

 20         you were making the statement, who did you

 21         envision the Seals interacting with or talking

 22         to?



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 19 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.     Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                  Page 63
   1                  A.       Depending upon the capacity in which

   2        they were working, things can get very confusing

   3        in polling places.                And the thought was just the

   4        individuals that are, as I say here, familiar

   5        with that kind of law of order and chain of

   6        command and understanding process are very

   7        decisive in their, this is how we need to do

   8        this, this is what the rules say.

   9                           So, I'm familiar with this entire

 10         situation and how this came about.                                    And I would

 11         say that, you know, it was taken out of context.

 12         That is, what I have just explained to you was

 13         the, the rationale behind the comment.

 14                   Q.       And you anticipate that these Seals

 15         would be interacting with people in the polling

 16         place including voters or election officials; is

 17         that correct?

 18                   A.       I would say that veterans and first

 19         responders, working inside the polls, depending

 20         upon their capacity, may interact with voters,

 21         also depending upon the state.

 22                            If they were serving in the capacity



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 20 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 64
   1        of poll watcher, they would not engage with

   2        anyone.        If they were working as a judge or a

   3        clerk, then they may.

   4                           And certainly with one another as

   5        part of the team working at the polls which can

   6        get very confusing, they would interact together

   7        working with others there at the polling place.

   8                  Q.       Who is Ed Hiner?                       H-I-N-E-R is the

   9        last name.

 10                   A.       He temporarily was the spokesperson

 11         for Continue to Serve.

 12                   Q.       You say temporarily.                           Did he stop

 13         being a spokesperson at some point?

 14                   A.       He did, yes.

 15                   Q.       Why is that?

 16                   A.       He also had a program that was a

 17         leadership program for after school, like after

 18         school programs.

 19                            And that -- in California.                              And that

 20         really got busy.              And he was also writing a book

 21         or had written a book and was promoting that

 22         book.     And, you know, the oversight of an effort



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 21 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.     Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                  Page 65
   1        like this is, takes a lot of time.                                    And he just

   2        didn't have that time to devote because there

   3        were so many other interests in play for him.

   4                  Q.       Have you seen or are you familiar

   5        with news articles or news reports in which Ed

   6        Hiner claimed that he withdrew after realizing

   7        how partisan the program had become?

   8                  A.       No, I'm not aware of that.

   9                  Q.       Do you have any reason to dispute

 10         that those were his reasons for withdrawing?

 11                   A.       Well, the reasons for his withdrawal

 12         were, as I have stated, he didn't have the time.

 13                            He was shocked by how mean spirited

 14         comments can be about these kinds of efforts.

 15         And he didn't have any political background and

 16         didn't want it to -- he didn't, he didn't want

 17         the, the animus that comes oftentimes,

 18         unfortunately, with detractors who are looking to

 19         try to find a partisan angle here when there is

 20         none.     But that is not what the media will

 21         report.

 22                   Q.       And did you discuss Mr. Hiner's



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 22 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 66
   1        concerns with him?

   2                  A.       Yes, I recall that we talked about

   3        it and I understand.                  I mean it is a lot.

   4                  Q.       And when you talked about it with

   5        him did he relay the concerns about the program

   6        being partisan?

   7                  A.       Not the program.                       No, our program

   8        was not partisan.               He was shocked at, you know,

   9        how could it be that the comments were taken and

 10         twisted in a way that made things seem negative.

 11         That was a shock to him.

 12                   Q.       I want to ask you about a different

 13         program.       Have you heard or used the phrase,

 14         Validate the Vote?

 15                   A.       Yes.

 16                   Q.       And where did that phrase come from?

 17                   A.       It was a recommended name given to,

 18         or suggested to me, by a consultant of a donor

 19         that had come to us and had suggested, the

 20         consultant suggested the name, Validate the Vote,

 21         and I have used it.

 22                   Q.       Is that phrase -- is that name, is



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 23 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 67
   1        that specific to True the Vote?

   2                  A.       I don't know.

   3                  Q.       Have you heard of any other

   4        organizations that have used that phrase for any

   5        of their programs?

   6                  A.       I have.            I have.

   7                  Q.       Which ones?

   8                  A.       The consultant who suggested that we

   9        use that name went on to start his own

 10         organization or had some other affiliation with

 11         an organization that was using that name.

 12         Whether or not they are still doing anything I

 13         don't know.

 14                            But I recall seeing the -- I was

 15         shocked to see that that had occurred.

 16                   Q.       When did the consultant recommend

 17         this name to you?

 18                   A.       On November the 5th.

 19                   Q.       What year?

 20                   A.       Oh, sorry, 2020.

 21                   Q.       And when did you see the consultant

 22         start a different organization and use that same



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 24 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 68
   1        phrase?

   2                  A.       I do not recall.                       Shortly

   3        thereafter, but I do not recall.

   4                  Q.       Other than that, do you recall any

   5        other instances of organizations announcing sort

   6        of Validate the Vote issues?

   7                  A.       I do -- I cannot give you a specific

   8        organization to direct your intentions to, but

   9        that term I have seen many times, often with the,

 10         you know, with the state attached to it, Validate

 11         the Vote in a certain state or something like

 12         that.

 13                            So, my recollection is I have read

 14         it and seen it other places, but I can't give you

 15         any other specifics about where to look.

 16                   Q.       And during the 2020 election cycle

 17         and the lead up to the 2021, the January 2021

 18         runoff in Georgia, was Validate the Vote or the

 19         phrase or the name of one of the programs that

 20         True the Vote was initiating in Georgia and

 21         elsewhere?

 22                   A.       Validate the Vote was used broadly.



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 25 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 69
   1        We had an election integrity hotline, and it

   2        didn't have a name so to speak.                               So we named it

   3        Validate the Vote.

   4                           And then when the attentions turned

   5        towards Georgia, as I recall, we would say

   6        Validate the Vote Georgia, but it was still a

   7        national effort.

   8                           Does that answer your question?

   9                  Q.       Yes, it does.                   You have used the

 10         word, bounty on fraud, before, correct?                                    In

 11         discussing the Validate the Vote program?

 12                   A.       I don't -- I have read through this

 13         in the preparation for this.                            I don't recall

 14         saying that but -- I don't recall saying that,

 15         but -- well, I will leave it at that.                                  I don't

 16         recall saying it.

 17                            MR. NKWONTA:                  Joe, can you pull up

 18              Exhibit 64, please.                     And if we can go to

 19              Page 3 of Exhibit 64.

 20                                     (Exhibit 64 marked for

 21                                       identification.)

 22         BY MR. NKWONTA:



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 26 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 70
   1                  Q.       Ms. Engelbrecht, can you look -- can

   2        you read into the record that starting with the

   3        first full sentence -- or starting on the second

   4        line, first full sentence, could you read that

   5        sentence into the record?

   6                  A.       Sure, sure.                 "And what Validate the

   7        Vote is about is putting a bounty on the fraud.

   8        Creating an environment for whistleblowers to

   9        come forward and tell the story, make sure that

 10         they have protections, make sure that they have

 11         compensation, and further, creating a space for

 12         people to come and share what they know or share

 13         with us what they know and then let us try to

 14         aggregate it."

 15                   Q.       So, Exhibit 64 is a transcript of

 16         some remarks you gave during a podcast.

 17                            Do you recall this podcast?

 18                   A.       I did host a podcast for a brief

 19         period of time.             I absolutely recall that.

 20                   Q.       When you used the term, Validate the

 21         Vote and the Bounty on Fraud here, can you

 22         describe what you were referring to?



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 27 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 71
   1                  A.       Sure.          These were extemporaneous

   2        unscripted, just me talking.

   3                           And, I used that word for -- clearly

   4        it is there.         I don't recall saying it, but

   5        clearly it was there.                   It was very much just sort

   6        of a riff of trying to explain, you know, what

   7        Validate the Vote was going to try to do.

   8                           And that is the nature of all of the

   9        comments, which is just sort of a riff of trying

 10         to explain it.

 11                   Q.       In addition to the protection that

 12         you mentioned that you wanted to offer to

 13         whistleblowers, did that also include legal

 14         support?       Did you also discuss offering legal

 15         support to whistleblowers?

 16                   A.       I do recall in other instances

 17         saying that it would be -- you know, legal

 18         support would be one of the things that we would

 19         hope to be able to offer.

 20                   Q.       And why did you want to offer legal

 21         support to whistleblowers?

 22                   A.       There were people coming to us and



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 28 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 72
   1        just over the years, you know, people that have

   2        information that they would like to share and are

   3        concerned.

   4                           And want to not be left hanging if

   5        they say something that, you know, would lead to

   6        a place of needing counsel, you know, needing

   7        some kind of representation.                            And, you know, I

   8        can appreciate that.

   9                           So we just wanted to create an

 10         environment where if they wanted to say something

 11         we would, we would be with them.

 12                   Q.       Did you offer that in order to, in

 13         order to encourage whistleblowers to come

 14         forward?

 15                   A.       Is the question did we offer to pay

 16         for legal counsel in order to encourage the

 17         whistleblowers to come forward?                               Is that -- I'm

 18         sorry --

 19                            MR. BOPP:               Catherine, Catherine --

 20                            THE WITNESS:                  Could you repeat it?

 21              Could you repeat the question?

 22                            MR. BOPP:               Excuse me, I am speaking.



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 29 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 73
   1                           MR. NKWONTA:                  She is speaking as

   2             well, but you have to assert an objection.

   3             What is your objection?

   4                           MR. BOPP:               If you stop talking, I

   5             will interpose my objection.

   6                           My objection is, Catherine, you are

   7             not to rephrase the question.                                You are to

   8             answer the question.

   9                           If you don't know the -- if you

 10              can't answer the question because it is

 11              unclear or whatever, then ask him to rephrase

 12              the question.              And that is my objection.

 13                            THE WITNESS:                  Could you repeat the

 14              question?

 15         BY MR. NKWONTA:

 16                   Q.       Certainly.

 17                            MR. NKWONTA:                  Before I do, I want to

 18              state for the record, Mr. Bopp's objections

 19              are actually not objections under any

 20              definition of the federal rules.                                 It is

 21              actually coaching the witness.

 22                            So, I object to you coaching your



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 30 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                 Page 74
   1             witness during the testimony.                                 And I ask that

   2             you refrain from doing that further in this

   3             deposition.

   4                            You have not asserted any objections

   5             to my questions.                  You don't get to object to

   6             your witness's own testimony.

   7        BY MR. NKWONTA:

   8                  Q.        Ms. Engelbrecht, I will repeat my

   9        question.          Did you offer legal support because

 10         you thought it would encourage whistleblowers to

 11         come forward?

 12                   A.        Thank you.                I thought that by making

 13         it known that there would be legal support for

 14         people who came forward, that it may encourage

 15         people who were otherwise concerned about not

 16         being able to withstand the whirlwind that these

 17         things came to elicit.

 18                   Q.        So, was it your view that concerns

 19         about legal ramifications would keep some

 20         whistleblowers from coming forward?

 21                   A.        I'm sorry, can you repeat the

 22         question?



www.DigitalEvidenceGroup.com          Digital Evidence Group C'rt 2022                             202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 31 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 75
   1                  Q.       Sure.          Was it your view that

   2        concerns about potential legal ramifications

   3        would keep some whistleblowers from coming

   4        forward?

   5                  A.       It was my concern that, or my belief

   6        that, in the environment in which we find

   7        ourselves, it seems that it doesn't take too much

   8        to end up being caught into a lawsuit.

   9                           And that we have all watched as

 10         people who never thought they would find

 11         themselves involved in anything like this do.

 12         And that keeps a lot of people -- that has a very

 13         chilling effect.

 14                            And so the thought was to try to

 15         create an environment, as I say here on this

 16         exhibit that is on the screen, to create a space

 17         for people to come to and know that they wouldn't

 18         be alone.

 19                   Q.       So, and just to make sure I am fully

 20         understanding, I think I am following what you

 21         are saying.

 22                   A.       Sure. Sure.



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 32 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 76
   1                  Q.       To make sure I'm fully

   2        understanding.

   3                           Was it your concern that without

   4        providing that legal support people may not come

   5        forward because they were concerned about

   6        potential legal ramifications?

   7                           MR. BOPP:               I object.              Asked and

   8             answered now multiple times.                               You are

   9             harassing the witness.

 10                            But you may answer if you, you know,

 11              and if you -- you may answer.

 12                            THE WITNESS:                  Yeah, I feel like I

 13              have answered it.                  I feel like I have

 14              answered the question.

 15                            We thought that creating or making

 16              it known that if people came forward and

 17              needed some kind of legal support that we

 18              would help support that.                           That was the reason

 19              that I said what I said.

 20         BY MR. NKWONTA:

 21                   Q.       I understand that you feel like you

 22         have answered the question.                          I do, I do want to



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 33 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 77
   1        get clarity on your answer.

   2                  A.       Sure.

   3                  Q.       Just to make sure that I am

   4        following.         And I understand that Mr. Bopp has

   5        objected that it is asked and answered.

   6                           MR. NKWONTA:                  I am willing to take

   7             that as a standing objection, unless you want

   8             to interject again.

   9        BY MR. NKWONTA:

 10                   Q.       But I want to just ask the question

 11         once more and just make sure that I get, I fully

 12         understand your answer.

 13                            The question I'm asking is slightly

 14         different, I think.                 What I am asking is not just

 15         why you offered legal support, but whether you

 16         felt like the potential legal ramifications of

 17         being a whistleblower or coming forward might

 18         prevent people from whistleblowing or from coming

 19         forward?

 20                   A.       I don't want to rephrase the

 21         question, but no, that -- as I understand the

 22         question again repeated, no, that that was not



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 34 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.    Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                 Page 79
   1                  Q.       You make the statement there of the

   2        last paragraph.             It says, "That is going to be a

   3        standing offer and the dollars will continue to

   4        increase as awareness grows."

   5                           What did you mean by that?

   6                  A.       Give me one second to read the

   7        preceding paragraph.

   8                  Q.       Sure.

   9                  A.       Again these were just, you know,

 10         riffs, but I, having read the preceding

 11         paragraph, when I said that is going to be a

 12         standing offer, that would have necessarily tied

 13         to my previous comments about how they could

 14         reach to the various outlets, the websites, the

 15         phone number, support, financial support, legal

 16         support.       I used the term, whistleblower

 17         immunity.

 18                            So, so that is what I was referring

 19         to.

 20                   Q.       So, I want to break that down --

 21                   A.       Oh, I'm sorry -- okay.                             Yes, please.

 22                   Q.       No.        Please continue.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                              202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 35 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 80
   1                  A.       You also asked about the dollars

   2        will continue to grow.

   3                           That was a -- the more that these

   4        types of services or types of supports are

   5        required, the more expensive that would become.

   6                           And there was nothing behind that

   7        other than to say, you know, more people would be

   8        willing to support and donate and help if that

   9        became necessary.

 10                            And that was my opinion and that is

 11         I'm sure what was going through my mind at the

 12         time.

 13                   Q.       So, more people would be willing to

 14         support and donate to what exactly?

 15                   A.       It's in the instance that people

 16         were sharing information, that lawsuits were, you

 17         know, on the radar.                 That a broad support was

 18         potentially necessary of a variety of types, I

 19         would imagine.

 20                            That the people that support the

 21         work that True the Vote does, would have a part

 22         for seeing the, you know, the people that came



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 36 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 81
   1        forward would be taken care of and not just left.

   2                  Q.       So, is one way to read this then is

   3        that the dollars or the support, the financial

   4        support or donations or dollars of True the

   5        Vote -- and True the Vote's efforts will increase

   6        as awareness of the Validate the Vote program and

   7        these other efforts grows.

   8                           Is that, is that a fair reading?

   9                  A.       Yes, I think that is fair.

 10                   Q.       You also had a Validate the Vote

 11         program hotline; is that right?

 12                   A.       Yes.

 13                   Q.       Was it called a Validate the Vote

 14         Program Hotline or was there a specific name for

 15         it?

 16                   A.       Well, not initially.                           Every election

 17         cycle we host a hotline that is both available

 18         online, and then we have a toll free number that

 19         people can call and share any manner of things.

 20                            And that has been consistent over a

 21         number of cycles.

 22                            In the most recent cycle, we had



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 37 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 82
   1        started the hotline in late September.                                   And we

   2        didn't begin to use the name Validate the Vote

   3        until, as I mentioned, November 5th or 6th,

   4        something like that.

   5                  Q.       But the hotline itself doesn't have

   6        a specific name separate from Validate the Vote;

   7        is that right?

   8                  A.       Just the Election Integrity Hotline.

   9                  Q.       And someone didn't have any ideas

 10         for that?

 11                   A.       No.

 12                   Q.       Well, it is the Validate the Vote

 13         hotline that you initiated, when did that hotline

 14         take off for the 2020 election?                               Or when was that

 15         hotline officially opened?

 16                   A.       In, in, the hotline itself, just the

 17         election integrity hotline, that is actually up

 18         on our website right now.                        But we added the -- we

 19         expanded the use of it for, to host live, live

 20         operators taking calls and so forth.                                  That

 21         started in late September of 2020.

 22                   Q.       So, that hotline started in late



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 38 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.    Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                 Page 83
   1        September 2020, and it is still ongoing or is

   2        there a period in which the hotline stopped

   3        receiving calls?

   4                  A.       It is still available.                             People still

   5        report things.           Certainly the focus is no longer

   6        what it was then, but we do still have that up.

   7        And it is a useful way for people to help

   8        organize their thoughts about their questions and

   9        what it is that they are seeking help with.

 10                   Q.       Did you keep track of the reports

 11         that came in through the hotline?

 12                   A.       As best as we could, yes.

 13                   Q.       And what did you do with those

 14         reports?

 15                   A.       They were provided to me and to the

 16         True the Vote team on a routine basis to review,

 17         and I'm sure they have been archived somewhere.

 18                            MR. NKWONTA:                  Joe, can you pull up

 19              Document 35 or Exhibit 35.                             And we are going

 20              to need to blow that up significantly or

 21              magnify that so we can look at some of these

 22              entries.



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 39 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 84
   1                                    (Exhibit 35 marked for

   2                                      identification.)

   3        BY MR. NKWONTA:

   4                  Q.       Do you recognize Exhibit 35,

   5        Ms. Engelbrecht?

   6                  A.       I recognize it from the package of

   7        exhibits that was included for the purposes of

   8        this deposition.              So, I reacquainted myself.                            I

   9        couldn't read it myself when I was looking at it

 10         but --

 11                   Q.       Is this one of the -- sorry.                                Were

 12         you finishing your answer?

 13                   A.       Yes.

 14                            THE WITNESS:                  Is it possible maybe

 15              to enlarge it a little bit more?                                 Perfect.

 16              Can you scroll to the right so I can see the

 17              headings?

 18                            Yes.         I'm sorry.                Could you repeat

 19              your question?

 20         BY MR. NKWONTA:

 21                   Q.       I wanted to ask, is this the list of

 22         the report of the incidents that you received



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 40 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 92
   1                  A.       I would have to -- I can't confirm

   2        that.     I would have to -- I can't confirm that.

   3        It should have just been a, you know, dump out to

   4        fulfill the requirement, but I can't confirm it.

   5                           MR. NKWONTA:                  Let's see if we can

   6             blow up a document.                     That might help.

   7                           Can we pull up Exhibit 79?

   8                                    (Exhibit 79 marked for

   9                                      identification.)

 10                            MR. NKWONTA:                  And can you enlarge

 11              that a little bit and scroll to Page 8.

 12         BY MR. NKWONTA:

 13                   Q.       Ms. Engelbrecht, Exhibit 79 is the

 14         Second Amended Response -- True the Vote's Second

 15         Amended Response to Plaintiff's Second Request

 16         for Production.

 17                            Do you recognize this document?

 18                   A.       Yes.

 19                   Q.       Now, if you look at the Request

 20         Number 18, Request Number 18 seeks, "All

 21         documents and communications relating to True the

 22         Vote's Election Integrity Hotline as described in



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 41 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 93
   1        your responses to Interrogatories 2 and 3,

   2        including, but not limited to, all documents and

   3        communications surrounding the launch of the

   4        hotline, follow-up with users of the hotline,

   5        vetted reports, and follow-up with the

   6        authorities charged with investigating such

   7        claims as described in your response to

   8        Interrogatory Number 3."

   9                           Is that a correct reading of Request

 10         Number 18?

 11                   A.       That is a correct reading, yes.

 12                   Q.       And in your response you state that,

 13         "The defendant True the Vote has produced the

 14         record of all hotline contacts relevant to

 15         Georgia during the time frame of the runoff

 16         election."         Is that correct?

 17                   A.       Yes.         And that would be relevant to

 18         Georgia at the time of the runoff collection --

 19         runoff election, yes.

 20                   Q.       You also state that, in the second

 21         paragraph, "None of these contacts resulted in

 22         the need for True the Vote to follow up or report



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 42 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 94
   1        the contact information to appropriate

   2        authorities."

   3                           Is that correct?

   4                           THE WITNESS:                  Can we -- I apologize.

   5             Could we just scroll down so I can see that

   6             in the response?

   7                           MR. NKWONTA:                  Keep scrolling.

   8                           THE WITNESS:                  I can go -- yes.

   9                           MR. NKWONTA:                  The next page.

 10                            THE WITNESS:                  The next page.

 11                            MR. NKWONTA:                  And then the paragraph

 12              starting with None of these concepts.

 13                            Can you scroll down a little bit

 14              more, Joe?

 15                            THE WITNESS:                  Yes.         Yes.

 16         BY MR. NKWONTA:

 17                   Q.       Is it accurate that none of the

 18         reports to your election integrity hotline or

 19         Validate the Vote hotline resulted in the need

 20         for True the Vote to report anything to

 21         authorities?

 22                   A.       Specific to this request for



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 43 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 95
   1        production around the Georgia runoff and the

   2        exhibit that we have looked at, that would be the

   3        case, yes.

   4                           MR. NKWONTA:                  You can pull that

   5             down, Joe.          I would like to ask about some of

   6             your other election related efforts.

   7                           If we could pull up Exhibit 61.                                  And

   8             can we scroll to the next page.

   9                                    (Exhibit 61 marked for

 10                                       identification.)

 11         BY MR. NKWONTA:

 12                   Q.       Do you recognize this document,

 13         Ms. Engelbrecht?

 14                   A.       Yes.

 15                   Q.       What is it?

 16                   A.       This was, based on its formatting,

 17         this would have been taken from our website.                                        And

 18         it just describes that we launched the Election

 19         Integrity Hotline specific to the runoff period.

 20                   Q.       And this is a press release issued

 21         by True the Vote, correct?

 22                   A.       Yes.         Or a blog post, but yes.



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 44 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 96
   1                  Q.       Or a blog post?

   2                  A.       Or a blog post.                      I'm not certain

   3        that this was a press release, but it most

   4        certainly was posted on our website.

   5                  Q.       Now, this press release makes

   6        reference to efforts to provide signature

   7        verification along with -- sorry, signature

   8        verification training, absentee ballot drop box

   9        monitoring, and other nonpartisan election

 10         integrity initiatives.

 11                            Is that correct?

 12                   A.       Yes.

 13                   Q.       I want to explore each of those.

 14         What signature training did you provide or what

 15         signature verification training did you provide?

 16                   A.       We posted online a signature

 17         verification training course.

 18                            For that program particularly we had

 19         worked with a signature verification specialist,

 20         someone who is accredited in that field and has

 21         worked in law enforcement and even in elections.

 22                            And so, she led the course, again



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 45 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 97
   1        online, but led the course in describing for

   2        volunteers who would be potentially working in

   3        that capacity what to look for.

   4                           And, you know, when you are looking

   5        at signature verifications, how do you, if you

   6        are going to compare two signatures, what are

   7        some key traits that to an untrained eye you

   8        might want to look at first.                            These are people

   9        that -- most of them had never worked in that

 10         capacity before.

 11                            So, just some basic understandings

 12         of signature verification.                         And then the process

 13         behind that.

 14                            So, taking the actual process of

 15         looking at the signature and then in the greater

 16         context of what that means inside of an election.

 17         And the standards particularly in Georgia were

 18         changing and how to do as best as you could to,

 19         as a volunteer to be useful in that -- for the

 20         state in that capacity.

 21                   Q.       Who provided the training?

 22                   A.       I do not remember her name.                               We



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 46 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 110
   1        training what did that entail?

   2                  A.       How to -- again, recognizing that

   3        every state handles this process differently, but

   4        a broad overview of the definition of an absentee

   5        ballot, what one might expect to experience from

   6        the different elements of the absentee ballot.

   7                           Package from the carrier envelope to

   8        the ballot.        Just very high level explanations

   9        that the goal of which was to share with the

 10         volunteer that, you know, this is probably what

 11         happens but every state has their own process.

 12                   Q.       What was the target audience for the

 13         training?

 14                   A.       Anybody that wanted to take the

 15         training.

 16                   Q.       And what was the purpose of the

 17         training?

 18                   A.       To create a transparency that would

 19         encourage volunteers, of which there are not

 20         enough, to get a basic understanding of what they

 21         might be able to expect, and direction on how

 22         they can connect with the locality to serve if



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 47 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.     Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                 Page 111
   1        they so chose.

   2                  Q.       And in what way would these

   3        individuals serve that would allow them to

   4        implement this training?

   5                  A.       They would -- if they had watched

   6        the election or the absentee ballot training and

   7        they went on to serve in the Absentee Ballot

   8        Review Board, that would be, you know, a point of

   9        connection or a point of familiarity of the broad

 10         process.

 11                            But there are any number of

 12         positions that they may end up working in.

 13                   Q.       You also referenced monitoring

 14         absentee ballot drop boxes in this press release.

 15         And I'm still referring to Exhibit 61.

 16                            What did that entail?

 17                   A.       I don't recall.                      I'm glad to review

 18         the exhibit again, but I don't recall.

 19                            MR. NKWONTA:                  One second.               Can we

 20              put that exhibit back up, Joe?                                   That is

 21              Exhibit 61.            So, if we can scroll to the last

 22              page, to Page 3.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                               202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 48 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 112
   1        BY MR. NKWONTA:

   2                  Q.       Ms. Engelbrecht, can you read that

   3        last paragraph, starting with this week, into the

   4        record?

   5                  A.       "The week, True the Vote also

   6        announced its partnership with the Georgia

   7        Republican party, in addition to the Georgia

   8        Election Integrity Hotline.                          True the Vote will

   9        assist with the Senate runoff election process,

 10         including publicly available signature

 11         verification training, monitoring absentee ballot

 12         drop boxes and other nonpartisan election

 13         integrity initiatives."

 14                   Q.       To cue up my question again, what

 15         did monitoring absentee ballot drop boxes entail?

 16                   A.       We did not do any monitoring of

 17         absentee ballot drop boxes for -- that is a

 18         misstatement.

 19                   Q.       And why did True the Vote announce

 20         that it was conducting absentee ballot drop

 21         boxes -- or absentee ballot drop box monitoring?

 22                   A.       I do not recall.                       There was no



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 49 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 113
   1        monitoring of absentee ballot drop boxes.                                      Just,

   2        it is not what volunteers did.

   3                  Q.       Has True the Vote monitored absentee

   4        ballot drop boxes in prior elections or during

   5        the 2020 general election or outside of Georgia?

   6                  A.       No.        No.

   7                  Q.       Can you think of an instance in the

   8        past where True the Vote monitored absentee

   9        ballot drop boxes?

 10                            MR. BOPP:               Excuse me, I object.

 11              That goes beyond the six states that are

 12              specified in the court's order that you are

 13              directed to limit your questions to.

 14                            It also goes to the history of the

 15              world as opposed to being confined to 2012.

 16                            And I will instruct her not to

 17              answer it because that would violate the

 18              court order.

 19                            MR. NKWONTA:                  Are you also

 20              instructing the witness not to answer in her

 21              individual capacity?

 22                            MR. BOPP:               I have been, no -- well,



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 50 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 114
   1             excuse me.          Yes.         Because the -- you are

   2             obligated to comply with the court order.

   3             You are violating the court order.

   4                            And so you can't ask about things

   5             that are not permitted.                         And you are to

   6             adhere to the limits of the court's discovery

   7             order.

   8                            MR. NKWONTA:                 I think you are

   9             actually misreading and violating the court

 10              order.        And I also think that regardless of

 11              what you feel about the scope of the topics,

 12              there are no 30(b)(6) topics for

 13              Ms. Engelbrecht in her individual capacity.

 14                            So, I will ask her -- I understand

 15              that you have instructed her not to answer as

 16              a 30(b)(6) witness for True the Vote which I

 17              will object to as improper.

 18                            But I will ask Ms. Engelbrecht, in

 19              her individual capacity --

 20         BY MR. NKWONTA:

 21                   Q.       Whether you are aware of any

 22         instance in which True the Vote or any of its



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 51 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 123
   1                           Our website is full of nonpartisan

   2        information.         There was information around --

   3        specific to Georgia, there was information around

   4        dates for when you can vote and drop box

   5        locations.         And things that you would, you know,

   6        just good guidance kinds of stuff.

   7                           Maybe that is -- would qualify for

   8        other initiatives.

   9                  Q.       Other than materials posted on the

 10         True the Vote website, are there any other

 11         election integrity initiatives that True the Vote

 12         engaged in?

 13                   A.       Can you define the time frame?                                  I

 14         want to make sure I'm answering properly.

 15                   Q.       Certainly.                So, the time frame would

 16         have been the same time frame in which this press

 17         release was issued.                 So in that period through

 18         the runoff election.                  It is between the November

 19         general election and the runoff election.

 20                   A.       Well, the -- we were working on

 21         the -- we had, we had had individuals that had

 22         requested support for knowing, because they knew



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 52 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 124
   1        that the rolls had not been cleaned.

   2                           So, we were looking at the project

   3        around -- during this time we have been looking

   4        at the project around the elector challenges.

   5                  Q.       Which individuals had requested

   6        assistance or noted that the rolls had not been

   7        cleaned?

   8                  A.       I mean, it was broadly known that

   9        the rolls hadn't been cleaned.                              That was well

 10         publicized.

 11                            Just, you know, various people,

 12         volunteers, people who follow True the Vote

 13         had -- we received e-mails saying could we do

 14         anything because the rolls aren't clean.                                     I mean

 15         very loose sort of realizations that people

 16         wanted to do something about it.

 17                   Q.       All right.                Well, let's turn to some

 18         of those activities and some of the folks

 19         involved with those activities.

 20                            How do you know Gregg Phillips?

 21                   A.       Gregg Phillips and I were introduced

 22         in late 2013, early 2014, because he -- at the



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 53 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 125
   1        time I was undergoing some pretty extensive

   2        targeting by the government.

   3                           And he had had his information, some

   4        of his donations released to -- kind of in the

   5        same vein.         And so there was an introduction

   6        based on that sort of common, this was happening

   7        to a lot of people.

   8                           From -- so then that is how I know

   9        him.    I was introduced in that vein of shared,

 10         just shared experience.

 11                   Q.       And when did True the Vote start

 12         working with OPSEC Group?

 13                   A.       It would have been late, late summer

 14         of 2020.

 15                   Q.       And True the Vote had worked with

 16         OPSEC Group before the late summer of 2020; is

 17         that right?

 18                   A.       No.

 19                   Q.       Had True the Vote worked with Gregg

 20         Phillips before the late summer of 2020?

 21                   A.       Yes.

 22                   Q.       And am I right that True the Vote



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 54 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 126
   1        worked with Gregg Phillips to conduct similar

   2        data and voter analysis to the landmark election

   3        challenge that True the Vote launched in the 2021

   4        runoff; is that correct?

   5                  A.       I'm sorry, could you ask that again?

   6                  Q.       Sure.          Did True the -- I will

   7        rephrase the question.

   8                           Did True the Vote work with Gregg

   9        Phillips on data analysis and voter analysis

 10         before September of -- or the summer of 2020?

 11                   A.       Yes.

 12                   Q.       Can you describe the types of voter

 13         analysis and data analysis that True the Vote

 14         worked with Gregg Phillips on?

 15                   A.       We reviewed a variety of things

 16         including reviewing how the changing laws

 17         around -- or changing guidance around the 2020

 18         election was impacting voters' engagements, you

 19         know, with respect to absentee ballots and so

 20         forth.

 21                            So, that was an example.

 22                            We have looked at, in the State of



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 55 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 127
   1        Texas, we looked at the distinctions between the

   2        way that counties managed their rolls or reported

   3        actions taken during the election via the voter

   4        rolls versus what counties were reporting to the

   5        secretaries of state, those kinds of data

   6        projects.

   7                  Q.       Did True the Vote work with Gregg

   8        Phillips on identifying voters who may have

   9        changed their addresses or who may have filed

 10         notices of a change of address with the Postal

 11         Service?

 12                   A.       We did, we worked -- yes, yes.                                  But

 13         it -- yes.         Yes.

 14                   Q.       When was that?

 15                   A.       That would have been probably

 16         starting the second week of December of 2020.

 17                   Q.       Before that, had True the Vote done

 18         any of that type of work with Gregg Phillips,

 19         meaning identifying voters who had moved or who

 20         had filed change of address notices?

 21                   A.       I don't recall.

 22                   Q.       Let me ask it this way.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 56 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 128
   1                           Was December 2020 the first time

   2        that True the Vote had attempted to identify

   3        voters who had changed their address or had moved

   4        out of their current voting jurisdiction?

   5                  A.       It was not the first time True the

   6        Vote had done that, no.

   7                  Q.       When had True the Vote done that in

   8        the past?

   9                  A.       In Texas, True the Vote in 2020, had

 10         reviewed voter records that -- for that type of

 11         disqualification potential.

 12                            And done so recognizing the voter

 13         challenge that enabled citizens to ask those

 14         questions of their counties, encourage their

 15         counties to take a look at the record.

 16                   Q.       When in 2020 did that occur?

 17                   A.       I'm sorry.                I didn't -- if I said

 18         2020 that was a mistake.                       I meant 2012.               I

 19         apologize.

 20                   Q.       When True the Vote conducted that

 21         analysis in 2012, what did True the Vote do with

 22         that information?



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 57 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 139
   1        you have been told?

   2                  A.       That is my personal knowledge.

   3                  Q.       Have you used Smarty Streets before?

   4                  A.       Yes.

   5                  Q.       And did you use Smarty Streets to

   6        refine an NCOA list?

   7                  A.       Yes.

   8                  Q.       And in what context?                           For the

   9        Georgia election law challenges?

 10                   A.       Yes.         I should say, I did not

 11         personally do that, but that was my understanding

 12         as part of what was being used to, broadly to

 13         refine the NCOA list itself.

 14                   Q.       And you mentioned other databases

 15         like the Social Security database and a few

 16         others.       Do you know if OPSEC conducted all of

 17         those -- all of that analyses internally or

 18         whether it outsourced some of that analysis?

 19                   A.       I do not know.

 20                   Q.       How did you first get in contact

 21         with Mark Williams?

 22                   A.       Mark Williams is a printer that



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 58 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 140
   1        OPSEC was introduced to and that was the extent

   2        of my introduction.

   3                  Q.       Who introduced OPSEC to Mark

   4        Williams?

   5                  A.       I do not know.

   6                           MR. NKWONTA:                  Could we pull up

   7             Document 15.             Could we zoom in a little bit

   8             on the document below the redacted portion.

   9                                    (Exhibit 15 marked for

 10                                       identification.)

 11         BY MR. NKWONTA:

 12                   Q.       Ms. Engelbrecht, Document 15 or now

 13         Exhibit 15 is an e-mail from Mark Williams to

 14         Gregg Phillips and you are copied as well.                                       Is

 15         that your e-mail address on the cc line?

 16                   A.       Yes.

 17                   Q.       Do you recognize this e-mail?

 18                   A.       I do not.

 19                   Q.       But you don't dispute that this was

 20         an e-mail that was sent to you, right?

 21                   A.       No, I don't dispute it.                            I just

 22         don't recall it.



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 59 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 141
   1                  Q.       And then in the e-mail below, it is

   2        actually forwarding an e-mail or adding you to an

   3        e-mail chain below.

   4                           It says -- the e-mail from below is

   5        from Gregg Phillips.                  And it says, "Mark, you

   6        were referred to us by the chairman of the GOP.

   7        We have a large print job for which we need help.

   8        Please let me know if you have ten minutes to

   9        discuss."

 10                            Is that a correct reading of the

 11         e-mail from Gregg Phillips?

 12                   A.       Yes.

 13                   Q.       And the reference to Chairman of

 14         GOP -- of the GOP, is that the same individual,

 15         David Shafer, whom you spoke with before

 16         announcing True the Vote's partnership with the

 17         GOP in the press release that we discussed

 18         earlier?

 19                   A.       David Shafer is the Chairman of the

 20         GOP, yes.

 21                   Q.       And that was the same individual

 22         that you spoke with before True the Vote



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 60 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 142
   1        announced its partnership with the GOP?

   2                  A.       Yes.

   3                           MR. NKWONTA:                  You can pull that

   4             down, Joe.

   5        BY MR. NKWONTA:

   6                  Q.       How did you first get in contact

   7        with Mr. James Cooper?

   8                  A.       James Cooper I have never met.                                  I

   9        have been in e-mail communication with him.                                        And

 10         he was a friend or an acquaintance of Mark

 11         Williams.

 12                   Q.       And how did you first get in contact

 13         with James Cooper?

 14                   A.       I don't recall.

 15                   Q.       What was James Cooper's role in the

 16         Georgia elector challenges?

 17                            And by the Georgia elector

 18         challenges I'm referring to the landmark voter

 19         challenge program that True the Vote launched?

 20                   A.       Sure.          He was interested in

 21         participating and was interested in, knew other

 22         Georgians who were also interested in



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 61 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 143
   1        participating.           That was my connection.

   2                  Q.       When you say interested in

   3        participating, what do you mean by that?

   4                  A.       Interested in participating in the

   5        cleaning of their rolls, locally -- or not

   6        cleaning, but the elector challenges, to be more

   7        to the point.

   8                           And was interested in what could be

   9        accomplished in that regard.

 10                   Q.       And he expressed that interest to

 11         you?

 12                   A.       No.        He expressed that interest to

 13         Mark Williams which led to that introduction to

 14         OPSEC.

 15                   Q.       And what did you discuss with

 16         Mr. Cooper regarding his participation in the

 17         elector challenges?

 18                   A.       I do not specifically recall.

 19                   Q.       Did you ask him to be a challenger?

 20                   A.       I don't specifically recall.

 21                   Q.       How about Ron Johnson, when did you

 22         first get connected with Ron Johnson?



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 62 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 144
   1                  A.       My headphones are going dead so I

   2        may have to -- give me a second if I have to

   3        switch out.

   4                           Same situation, he was an

   5        acquaintance of Mark Williams.                              And that was the

   6        extent of my introduction.                         He was interested in

   7        participating in the program to look at their

   8        local voter rolls.

   9                  Q.       What was Ron Johnson's role in the

 10         challenges?

 11                   A.       He was a challenger.                           He was an

 12         elector challenger.                 And then he, he was very

 13         familiar with other people in the state and

 14         had -- there was e-mail back and forth between

 15         Ron and other -- others.

 16                   Q.       What was James Cooper's role in the

 17         challenges?

 18                   A.       I do not recall.                       I do not recall if

 19         he was a challenger.

 20                   Q.       Do you recall if he had any other

 21         role?

 22                   A.       He was sort of proximate to the



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 63 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 145
   1        initiative, and as I mentioned, knew other people

   2        who had expressed interest in being elector

   3        challengers in their county.                            I just don't

   4        remember if he himself participated.

   5                  Q.       How did you first get in contact

   6        with Derek Somerville?

   7                  A.       Through OPSEC, through Gregg who had

   8        been referred to him.                   And then Gregg suggested

   9        that I reach out to Derek.

 10                   Q.       Who referred Gregg to

 11         Mr. Somerville?

 12                   A.       I am not certain; I don't recall.

 13                   Q.       When was your first communication

 14         with Mr. Somerville?

 15                   A.       I don't recall that either.                               Around

 16         that time, but I don't recall the date.

 17                   Q.       Was there a phone call or was there

 18         an e-mail or a text?

 19                   A.       It was a phone call and then we --

 20         yes, it was a phone call and then we had dinner.

 21                   Q.       And what did you discuss with

 22         Mr. Somerville at that dinner?



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 64 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 146
   1                  A.        They were also -- he and another

   2        individual were also working through elector

   3        challenges and the thought was not to be at cross

   4        purposes.          And, you know, that is really the

   5        extent of it.

   6                  Q.        Was that other individual Mark

   7        Davis?

   8                  A.        Yes.

   9                  Q.        In what way were the challenges

 10         potentially at cross purposes?

 11                   A.        They were doing a much smaller

 12         challenge scope that included different -- a

 13         different approach to counties that I -- you

 14         know, a different approach to counties and a

 15         different approach to the registry as a whole,

 16         looking at only active voters where we looked at

 17         both active and inactive voters.

 18                   Q.        And in what ways was their challenge

 19         effort at cross purposes with True the Vote?

 20                   A.        I think only inasmuch as the fact

 21         that these challenges were going to be submitted

 22         around the same time and certainly for the same



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 65 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 147
   1        concerns.          And to not cause any undue, you know,

   2        consternation or just general confusion, because

   3        they had already been at work at, you know, at

   4        their project.

   5                            MR. NKWONTA:                  Could we pause for a

   6             second maybe to announce a counsel who just

   7             joined.

   8                            MS. SIEBERT:                  Good afternoon.                 Yeah,

   9             my name is Melena Siebert.                              I will be

 10              representing Ms. Engelbrecht and True the

 11              Vote here.

 12                             MR. NKWONTA:                  Hi, Melena.

 13                             MS. SIEBERT:                  Hello.

 14         BY MR. NKWONTA:

 15                   Q.        I will go back to my question,

 16         Ms. Engelbrecht.               Was there any potential for

 17         confusion between the two challenges?

 18                             Was that the concern, or were you

 19         concerned with confusion among election

 20         officials?

 21                   A.        We were just being observant that

 22         what they were doing, we could not, you know,



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 66 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 148
   1        attest to or confirm whether or not their

   2        methodology was, you know, based upon, for

   3        example, the active versus inactive, those kinds

   4        of things, because certainly with it all

   5        happening so proximate to one another, we were

   6        just aware, just broadly aware.

   7                  Q.       Did you all discuss the differences

   8        in methodology?

   9                  A.       To a limited degree.                           I'm not sure

 10         exactly how their process worked.

 11                            But those examples that I gave, I

 12         was aware of.

 13                   Q.       Other than the distinction between

 14         inactive and active voters, what other, what

 15         other differences in methodology created the

 16         different sizes and scope of the challenges that

 17         True the Vote submitted versus --

 18                   A.       I'm not sure other than to say that

 19         we reviewed the entire state.                             And they, to the

 20         best of my understanding, did not review the

 21         entire state.

 22                            I don't have any more information



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 67 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 149
   1        about why.

   2                  Q.       Did you have any concerns about

   3        Mr. Somerville's and Mr. Davis's methodology?

   4                  A.       My observation was that for our

   5        purposes the way to be most exacting was to not

   6        limit anything.             Any record that was available

   7        for review should be reviewed equally.

   8                           And so, to the extent that any other

   9        group did not do that, you know, they -- that was

 10         just not our choice.                  We wanted to look at

 11         everything equally.

 12                   Q.       In other words you wanted to include

 13         as many people as possible within your challenge?

 14                   A.       We wanted to review as many records,

 15         recognizing that the state hadn't cleaned their

 16         rolls in two years.                 And recognizing all of the

 17         new rules around the election process that would

 18         have impact.         We wanted to do as much as we could

 19         to afford an even review.

 20                   Q.       And affording that even

 21         comprehensive review, that meant including as

 22         many records as possible within your challenge?



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 68 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 150
   1                  A.       Correct.

   2                  Q.       Did Mr. Somerville or Mr. Davis

   3        express any concerns about True the Vote's

   4        methodology?

   5                  A.       They -- as I recall, Mr. Somerville,

   6        did want to know the methodology.                                 But beyond

   7        that I don't, I don't believe so.

   8                  Q.       Other than Mr. Somerville and

   9        Mr. Davis, was anyone else at that dinner?

 10                   A.       It was just Mr. Somerville and

 11         myself and Gregg Phillips.

 12                   Q.       And aside from the methodologies,

 13         what else did you discuss at the dinner relating

 14         to the challenges?

 15                   A.       I don't recall anything else.

 16                   Q.       What role did Mr. Somerville and

 17         Mr. Davis take going forward in the challenges?

 18                   A.       As the challenges began to be

 19         submitted, we became aware of some of the

 20         volunteers who had, who had indicated they wanted

 21         to be a part of challenging the records with the

 22         True the Vote project were also working with the



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 69 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 151
   1        other projects.

   2                           So, we were aware of that.                              And that

   3        caused some need to try to understand how to

   4        avoid that.

   5                           And then beyond that, when the

   6        animus around the project became more extreme,

   7        and our challengers were being threatened and

   8        more confused about what would have seemed to

   9        have been a very simple process that took a very

 10         different turn, we then were in communication

 11         with Derek and Mark as a broader group of, you

 12         know, people that were just generally involved in

 13         elector challenges and trying to understand what

 14         was happening.

 15                   Q.       What do you mean by a simple process

 16         that --

 17                            MR. BOPP:               Excuse me, excuse me.

 18              I'm sorry, I don't mean to interrupt, but I

 19              am bowing out.               Melena will take over here

 20              and defend the deposition, so good luck and

 21              thank you.          And we will -- I will talk to

 22              you, Melena after everything is done.                                     All



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 70 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 152
   1              right?

   2                             MS. SIEBERT:                 Sounds good.

   3                             MR. BOPP:              I am logging off.                   Bye

   4              Cathy.

   5                             THE WITNESS:                 All right.

   6        BY MR. NKWONTA:

   7                  Q.         Ms. Engelbrecht, could you explain

   8        what you meant by what should have been a simple

   9        process that, I forget your exact words, but went

 10         off the rails or something along those lines?

 11                   A.        Sure, sure.                 Would you like me to

 12         describe the process as I understood it should

 13         have been conducted?

 14                   Q.         Yes, please.

 15                   A.        Okay.          So, the way that the standard

 16         reads and what we were expecting was -- and this

 17         was informed by a meeting we had with the

 18         Secretary of State, which I'm sure we will get

 19         to.

 20                             But the elector challenges should

 21         have been taken in by the -- or accepted by the

 22         counties.          They should have been reviewed for the



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 71 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 156
   1                           There is reason for concern that

   2        there would be no way to know whether or not an

   3        absentee ballot was sent to an inaccurate address

   4        because the basic maintenance requirement had not

   5        been fulfilled by the state.

   6                           THE WITNESS:                  Give me one second.

   7             Hang on guys.

   8                           MR. NKWONTA:                  Can we just take a

   9             minute and go off the record while

 10              Ms. Engelbrecht changes her headphones.

 11                            THE VIDEOGRAPHER:                        We are now going

 12              off the video record.                       The time is 12:34 p.m.

 13                            (Recess taken -- 12:34 p.m.)

 14                            (After recess -- 12:35 p.m.)

 15                            THE VIDEOGRAPHER:                        We are now going

 16              back on the video record.                            The time is

 17              12:35 p.m.

 18         BY MR. NKWONTA:

 19                   Q.       Ms. Engelbrecht, you took issue with

 20         my phrasing according to plan so let me rephrase

 21         that.

 22                            If the challenges had been addressed



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 72 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 157
   1        the way you had expected them to, or the way you

   2        envisioned they would have been, all 364,000

   3        challenged voters would have been required to

   4        provide evidence of their residence if they

   5        attempted to vote in Georgia.                             Is that correct?

   6                  A.       They would have been expected to

   7        show an identification that shows their residence

   8        which is also Georgia law, so they wouldn't have

   9        had to do anything other than what they would

 10         have normally had to have done in casting a

 11         ballot.

 12                   Q.       Well, you just indicated that would

 13         not have been required for absentee voters.

 14         Absentee voters would not have been required to

 15         present identification, right?

 16                            So, and, and that may not have been

 17         required for in-person voters, if their

 18         identification was from, you know, from somewhere

 19         else.

 20                            So, let me pose my question again.

 21         Not having addressed those sort of underlying

 22         assumptions, let me pose my question again.



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 73 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 158
   1                           If the challenges had gone according

   2        to the way you had envisioned them being

   3        addressed, it would have resulted in 364,000-plus

   4        challenged voters being required to present

   5        evidence of residency before voting in the

   6        Georgia runoff elections; is that correct?

   7                  A.       Well, for those voters that were

   8        voting in-person, they would have, by law, been

   9        required to show identification that supports

 10         their residency.              That is -- that would have been

 11         true in any case, whether or not a challenge

 12         would have been issued.

 13                            You are right, with respect to

 14         absentee ballots.               This was a change in standard

 15         where the absentee ballot recipient did not have

 16         to show any form of identification.

 17                            And so, there, what -- that, in that

 18         instance, had somebody been challenged.                                    But it

 19         is important to remember that the only records

 20         that were challenged were those records that the

 21         elector had also notified the United States

 22         Postal Service that they had permanently changed



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 74 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 159
   1        their residence.

   2                           So, this was not without, you know,

   3        causation.         But yes, then in the case of absentee

   4        ballots, that would have been given the curing

   5        process -- or resolved during the curing process.

   6                  Q.       And what would -- we'll return to

   7        the specific operation of the curing process and

   8        of the challenge process.                        I do want to get back

   9        to the meeting between you and Mr. Davis and

 10         Mr. Somerville.

 11                            MR. NKWONTA:                  Joe, could we pull up

 12              Exhibit 19.            And can we enlarge that a little

 13              bit as well.             Great.

 14                                     (Exhibit 19 marked for

 15                                       identification.)

 16         BY MR. NKWONTA:

 17                   Q.       Do you recognize Exhibit 19,

 18         Ms. Engelbrecht?

 19                   A.       Yes.

 20                   Q.       What is it?

 21                   A.       That was a notice that was sent from

 22         True the Vote to all the elector challengers who



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 75 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 160
   1        we were working with.

   2                             And this, as I mentioned earlier,

   3        was part of the discussions that we had with

   4        Derek, because of the confusion and concern that

   5        was being experienced by the elector challengers

   6        who were a part of our project.

   7                             And so this was an invitation to

   8        participate in a Zoom call where we could talk

   9        about what people were experiencing.

 10                   Q.        And what did you all discuss during

 11         those Zoom calls?

 12                   A.        The process that was to have been

 13         followed.          And the people shared their concerns

 14         of threats that they were receiving.                                   And we gave

 15         direction as to where to submit those to so that

 16         we would have them on record.

 17                   Q.        And where did you ask them to submit

 18         the threats to?

 19                   A.        I don't recall.                      Somewhere, within

 20         True the Vote.            I don't recall the specific

 21         e-mail address or whatever.

 22                   Q.        And do you still have a record of



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 76 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.    Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 161
   1        those threats?

   2                  A.       Yes.

   3                           MR. NKWONTA:                  Could we pull that

   4             down and pull up Exhibit 30.

   5                                    (Exhibit 30 marked for

   6                                      identification.)

   7                           MR. NKWONTA:                  And then before I get

   8             into this, I will note that I have referred

   9             to these documents as either document number

 10              or exhibit number interchangeably.

 11                            We will just say either Document

 12              Number 30 or Exhibit Number 30.                                  I'm

 13              referring to the exhibits.

 14         BY MR. NKWONTA:

 15                   Q.       So, Exhibit Number 30 is an e-mail

 16         from you Ms. Engelbrecht to Brian Robinson.                                         And

 17         beneath it an e-mail to Senator Williams; is that

 18         correct?

 19                   A.       Yes.

 20                   Q.       Do you recognize that e-mail?

 21                   A.       Yes.

 22                   Q.       And what was the date of that



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 77 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 164
   1        the following week I reached out to the

   2        Democratic Party.

   3                           So, it is accurate to say that the

   4        introduction to the Georgia Republican Party

   5        came, preceded my outreach to the Democratic

   6        Party, but we did not initiate that outreach to

   7        the Republican Party, sorry.

   8                           MR. NKWONTA:                  Could we pull up

   9             Exhibit 81, please.

 10                                     (Exhibit 81 marked for

 11                                       identification.)

 12         BY MR. NKWONTA:

 13                   Q.       Ms. Engelbrecht, Exhibit 81 is the

 14         response that True the Vote filed to Plaintiffs'

 15         First Interrogatories.

 16                            MR. NKWONTA:                  And, Joe, can you go

 17              to Page 25.            Can you scroll up a little bit

 18              to catch the Interrogatory No. 8?                                 Scroll up

 19              a little bit to the end of Page 24.                                   Okay.

 20         BY MR. NKWONTA:

 21                   Q.       Ms. Engelbrecht, Interrogatory No. 8

 22         says, "Describe your self-proclaimed partnership



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 78 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 165
   1        with the Georgia Republican Party to assist with

   2        the Senate runoff election process as announced

   3        in your December 14, 2020 press release,

   4        including but not limited to the names and

   5        contact information of each of the entities and

   6        individuals with whom True the Vote has been and

   7        intends to work with in this partnership and the

   8        approximate date when the partnership began and

   9        the purpose and/or goals of the partnership."

 10                            Is that a correct reading of

 11         Interrogatory No. 8?

 12                            THE WITNESS:                  Can we advance to the

 13              Page 25?

 14                            Yes.

 15         BY MR. NKWONTA:

 16                   Q.       And the response, the first sentence

 17         of the response says, "The partnership with the

 18         Georgia Republican Party was announced on

 19         December 14, 2020, shortly after a meeting with

 20         David Shafer, Executive Director Stewart Bragg,

 21         and Florida Elections Day Operations Director

 22         Alyssa Gonzalez Specht."



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 79 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 166
   1                           Is that a correct reading of the

   2        first sentence of the response?

   3                  A.       Yes.

   4                  Q.       Is it your testimony that that is

   5        not outreach to the GOP?

   6                  A.       We did not -- we were introduced.                                    I

   7        was introduced.             I did not initiate that

   8        introduction.

   9                  Q.       But at some point you would have to

 10         have reached out in order to schedule a meeting

 11         and conduct a meeting, correct?

 12                   A.       I mean, yes, we could say it that

 13         way, yes.

 14                   Q.       So, it is fair to say that True the

 15         Vote had some outreach with the GOP before

 16         reaching out to any Democratic Party official or

 17         legislator and announced the partnership with the

 18         GOP before reaching out to any Democratic

 19         official or legislator?

 20                   A.       We -- I would say that the outreach

 21         consisting of acknowledgment that we would meet

 22         or be at a place where these folks were.                                     And



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 80 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 167
   1        inasmuch as partnership meant them, to make them

   2        aware of the, of the election integrity

   3        initiatives that were already posted on line,

   4        then yes.

   5                           MR. NKWONTA:                  You can pull down

   6             Exhibit 81.

   7        BY MR. NKWONTA:

   8                  Q.       I would like to talk about True the

   9        Vote's coordination with the Secretary of State's

 10         office.       Did True the Vote reach out to the

 11         Secretary of State's office before launching the

 12         challenge effort?

 13                   A.       Yes.

 14                   Q.       Can you walk me through how that

 15         outreach occurred?

 16                   A.       We were working with a

 17         communications consultant who knew the staff at

 18         the Secretary of State's office.

 19                            And so, through him I asked to set

 20         up a meeting.          And we attended that meeting -- or

 21         I attended take meeting.

 22                   Q.       Who was the communications



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 81 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 168
   1        consultant?

   2                  A.       Brian Robinson.

   3                  Q.       And when you attended that meeting,

   4        who was present at the meeting?

   5                  A.       Jordan Fuchs, Ryan Germany, Brian

   6        Robinson, for a brief period of time Secretary

   7        Raffensperger, and myself.                         And that is all I

   8        recall.

   9                  Q.       When did this meeting occur?

 10                   A.       I don't recall specifically.                                It was

 11         in, you know, mid-December, somewhere in there.

 12                   Q.       How long did it last?

 13                   A.       I don't recall that, either.

 14                   Q.       What did you all discuss at this

 15         meeting?

 16                   A.       I went with the express purpose of

 17         describing the elector challenge and the wanting

 18         to make sure that we understood, as best as we

 19         could, what that process would look like at the

 20         county level for the electors who wanted to

 21         participate in their -- with their counties to

 22         avoid any friction or inappropriate process.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 82 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 169
   1                           And, I expressed that I was

   2        concerned about the size of the number, how large

   3        it was.       And I expressed that, you know, even

   4        though we had done what we could to refine the

   5        list so to be, you know, as exact as possible,

   6        but the number was still large.

   7                           Secretary Raffensperger quickly

   8        commented that he thought the number was about

   9        right because they hadn't been able to clean the

 10         list and so people move.                       And he did some fast

 11         math in his head, yeah, XYZ, it should be about

 12         that number.

 13                            And I remember the feeling of

 14         saying, you know, this is a -- the only way we

 15         can see to do this is to run the whole list, and

 16         he agreed.

 17                            And again it is a process that

 18         electors can participate in, and it is afforded

 19         in state law.          And that was kind of it. And then

 20         we went through the specific steps of what would

 21         happen.

 22                            Another thing I recall crisply is my



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 83 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 180
   1        requires standardization.                        That is the reference

   2        to ETL.

   3                           And then you know they indicate here

   4        analyses, so that would come back to us over time

   5        in the form of analysis.

   6                           And litigation support, which was

   7        another, you know, a manner, a matter of their

   8        involvement.

   9                  Q.       When did this work start?

 10                   A.       I am not sure.                    I don't know.

 11                   Q.       Did this work start before

 12         December 7th?

 13                   A.       I don't recall.

 14                   Q.       So, it is possible this work started

 15         after December 7th?

 16                   A.       No, because litigation support would

 17         have occurred in November.

 18                   Q.       What does that term, litigation

 19         support, mean?           Litigation support for what

 20         exactly?

 21                   A.       We had served in support of OPSEC's

 22         analyses for lawsuits that were filed post the



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 84 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 181
   1        general election that were heavily dependent on

   2        OPSEC's ability to review data that should have

   3        been made available by the state.

   4                           And, so that was their -- that was

   5        their role and we were supporting that effort.

   6                  Q.       Are you referring to the lawsuits

   7        filed in battle ground states like Georgia,

   8        Michigan, Pennsylvania, Wisconsin?

   9                  A.       Yes.

 10                   Q.       And the lawsuits filed shortly after

 11         the November general election?

 12                   A.       Yes.

 13                   Q.       So, part of this invoice includes

 14         work that was done in connection with lawsuits

 15         that were filed shortly after the November

 16         presidential election?

 17                   A.       Yes.

 18                   Q.       Can you identify other line items

 19         that relate to the November general election,

 20         aside from litigation support?

 21                   A.       Well, all of the data acquisition

 22         could conceivably have been used for the



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 85 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 182
   1        litigation support.

   2                  Q.       So, this invoice and all of the

   3        analysis is not specific to the Georgia runoff

   4        election?

   5                  A.       No.

   6                  Q.       It is all combined; it is all one

   7        invoice?

   8                  A.       Yeah, just a listing of all manner

   9        of things.

 10                   Q.       But in terms of the work OPSEC was

 11         doing for True the Vote, was it sort of all one

 12         combined project?

 13                            In other words, the analyses for the

 14         general election or the November presidential

 15         election and the analyses for the runoff, was it

 16         all one combined project?

 17                   A.       No, the analyses for the lawsuits

 18         that were filed post election would have been in

 19         support of those lawsuits specifically.

 20                            And True the Vote was, you know,

 21         the, financially supporting the effort, but it

 22         was being used in lawsuits or should have been



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 86 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 183
   1        used in lawsuits.

   2                  Q.       Right.           I'm saying there is no

   3        differentiation here between analysis for those

   4        lawsuits and the analysis for the Georgia elector

   5        challenges suit?

   6                           So I'm asking whether there was all

   7        one project, at least as far as OPSEC was

   8        concerned?

   9                  A.       Yeah, I don't, I don't recall.

 10                   Q.       So, I understand you may not recall

 11         exactly how it was set up.

 12                            But, the invoice does reflect --

 13         they are combined on the invoices; is that

 14         correct?

 15                   A.       Yes.         I mean there is an element of

 16         combination here, yes.

 17                   Q.       What does Eyes on Georgia mean?

 18                   A.       That was the term that OPSEC had,

 19         and I guess they in their system set that up for

 20         part of the description.

 21                   Q.       What were they describing?

 22                   A.       At that point it would have -- I



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 87 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 184
   1        mean their terminology for looking at what could

   2        be, what could be addressed in Georgia or what

   3        could be -- let me say that a little differently.

   4                            What could be done to address the

   5        concerns of Georgians relative to citizen

   6        engagement.         What could be done.                          And that is

   7        where you see where it says Georgia Code

   8        Analysis.          That is kind of the beginning of

   9        figuring out, you know, what could we do for

 10         citizens.

 11                   Q.        What other types of analyses did

 12         OPSEC conduct aside from generating a list of

 13         challenged voters in Georgia?

 14                   A.        I know that they looked at, looked

 15         post the -- sorry guys, post -- my apologies,

 16         give me a second.                A rogue pet.                  Hang on.

 17                             They looked at other data

 18         elements -- I'm sorry.                      Can you repeat the

 19         question?

 20                   Q.        Sure.          What other types of analyses

 21         did OPSEC conduct in Georgia aside from preparing

 22         challenge lists for the runoff election?



www.DigitalEvidenceGroup.com          Digital Evidence Group C'rt 2022                             202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 88 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 185
   1                  A.       They looked at other data elements

   2        that are tracked in the Georgia file.                                  When it

   3        was mentioned that there was bias, we wanted to

   4        see what the records of the state would show, so

   5        they did that analysis.

   6                  Q.       What other analysis did they

   7        conduct?

   8                  A.       Relative to all of this, I don't

   9        recall.

 10                   Q.       Is there anyone from True the Vote

 11         who would recall?               Are there any -- sorry, let

 12         me -- you were -- I think you were shaking your

 13         head but I will let you answer.

 14                   A.       Sorry, no.                I'm sorry, no.                I'm --

 15         that is my thinking nod.                       No, I don't think so.

 16         No.

 17                   Q.       Are there any documents that you

 18         could review that would help refresh your

 19         recollection of any other analyses that you

 20         conducted?

 21                   A.       No.        I don't recall.                     I don't think

 22         so.



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 89 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 206
   1        challenges was to bring to the -- to help

   2        electors bring to the attention of their local

   3        counties, records that appeared not to comply

   4        with eligibility standards.

   5                           And it is within state law for them

   6        to -- for citizens to participate in that way to

   7        ask that question.                And that is the extent of the

   8        elector challenge.

   9                  Q.       And if the challenges, as True the

 10         Vote claims, does not result in a person be

 11         removed, then why go through the effort of

 12         scrubbing military addresses?

 13                   A.       As I have said, it was just a choice

 14         that we made to not -- I mean, there are, you

 15         know, deployments.                There are different ways in

 16         which addresses are identified.

 17                            And because there is a filter that

 18         exists within the expanded NCOA, we just chose to

 19         remove them.

 20                   Q.       You chose to remove them because

 21         there are a lot of valid reasons why someone in

 22         the military might file a notice of change of



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 90 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 207
   1        address even while maintaining permanent

   2        residence in Georgia; is that right?

   3                  A.       No.        To be clear, NCOA is in the

   4        database of, that is NCOA is the result of the

   5        resident notifying -- ostensibly is the result of

   6        the resident notifying the United States Postal

   7        Service that they have permanently moved their

   8        residence.

   9                           It is also worth noting that inside

 10         of the expanded NCOA you can, you can as a

 11         resident or as a reviewer of the data, you can

 12         select a temporary move, right, so who moved only

 13         temporarily.         And there are classifications

 14         around all of that.

 15                            So, we only looked at permanence.

 16         Nonetheless, I just, our recognition that

 17         military, because of the nature of the military,

 18         can fall outside of some of the stricter

 19         standards in postal and in the delivery services,

 20         it was really just a choice to not take that --

 21         not include them.

 22                   Q.       So, according to True the Vote's



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 91 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 208
   1        claims then, the challenge list would have only

   2        included members of the military who indicated or

   3        provided a notice of permanent address changes;

   4        is that right?

   5                  A.         That would have been true for the

   6        entire list.          That we would have only been given

   7        notice based upon our aggregation of the data

   8        from USPS as they provide it.

   9                             They are attestation through that

 10         data is that the selection had been made by the

 11         resident.          That the move -- the residential move

 12         to a new address was permanent.

 13                   Q.        And that would be true for -- that

 14         would be true for members of the military as

 15         well, right?

 16                   A.        For everyone.                   According to what we

 17         were provided, uh-huh.

 18                   Q.        So, what I am -- the question I am

 19         trying to get at is what prompted the exception

 20         for members of the military who had already

 21         indicated that their move was permanent?

 22                   A.        As I said, it is just a -- I think



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 92 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 209
   1        being aware of the sensitivities around the

   2        military, because they do move so often.                                     And as

   3        I have mentioned, because of the number of

   4        elector challenges, because the rolls had not

   5        been cleaned in two years, the number was already

   6        so large that that seemed like -- and because the

   7        filters were available, that seemed like an

   8        appropriate action to take.

   9                  Q.       Did -- what is the difference

 10         between a temporary move and a permanent move

 11         when it comes to reporting through the NCOA?

 12                   A.       Um --

 13                   Q.       Let me rephrase it this way.                                I

 14         think I can make my question a little bit

 15         clearer.

 16                   A.       Sure.

 17                   Q.       Am I right that any move that lasts

 18         longer than a year is considered a temporary --

 19         is considered a permanent move?

 20                   A.       I'm not certain what time lines are

 21         put on the -- I'm not sure what time lines govern

 22         the actual input when a resident goes to USPS or



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 93 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 210
   1        through some other forum, puts the date in.                                        I

   2        don't know if the year is the governance or not.

   3                           I think -- I should leave it at

   4        that.     I'm not certain.                   But there are

   5        distinctions between permanent and temporary.

   6                           We chose only to look at permanent.

   7        And we chose only to look at permanent with the

   8        date that was at minimum 90 days -- how do I say,

   9        90 days pre the generals.                        So that it would have

 10         been a substantial period of time, so that when

 11         we rescreened everything, if there was a change,

 12         we would have caught that.

 13                            I hope that makes sense.                            That is

 14         confusing.

 15                   Q.       If an individual wanted to change

 16         their address for 18 months, would they be able

 17         to do that by filing a temporary address change,

 18         or would they be forced to file a permanent

 19         address change and then file another address

 20         change when they return home?

 21                   A.       I know that you can submit the dates

 22         that you want the change to be effective for.



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 94 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 211
   1        I'm not certain what other guidance USPS may

   2        follow.

   3                  Q.       As you sit here today, you can't

   4        tell me what definition of a permanent move is

   5        according to the USPS guidelines or according to

   6        the reporting on the NCOA database?

   7                  A.       I can't affirm exactly what their

   8        statutes or their guidelines say, no.

   9                  Q.       Did you scrub the challenge list for

 10         college students as well who tend to move often?

 11                   A.       I, I, it was discussed.                            I'm not

 12         sure whether or not that was done in whole or in

 13         part.     I'm not sure.

 14                   Q.       Has True the Vote participated in

 15         challenges involving students in the past in

 16         Georgia?

 17                   A.       Not that I recall.

 18                            MR. NKWONTA:                  Could we pull up

 19              Exhibit 46, please.                     I would like to show you

 20              Exhibit 46 to see if you recall this.

 21                                     (Exhibit 46 marked for

 22                                       identification.)



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 95 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 220
   1        BY MR. NKWONTA:

   2                  Q.       Ms. Engelbrecht, do you recognize

   3        that e-mail?

   4                  A.       Can you enlarge --

   5                  Q.       E-mail in Exhibit 9 from you to

   6        Gregg Phillips -- or from you to Mark Williams,

   7        copying Gregg Phillips.

   8                           THE WITNESS:                  An you enlarge just a

   9             bit.

 10                            THE VIDEOGRAPHER:                        I apologize,

 11              Catherine.          It is stuck.                   Bear with me for

 12              one second.            Sorry.

 13                            MR. NKWONTA:                  Keep scrolling.                 Keep

 14              scrolling, there we go.

 15         BY MR. NKWONTA:

 16                   Q.       Do you recognize this e-mail,

 17         Ms. Engelbrecht?

 18                   A.       It is my e-mail.

 19                   Q.       And this was addressed to Mark

 20         Williams?

 21                   A.       Uh-huh, yes.

 22                   Q.       And Mark Williams is the printer,



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 96 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 221
   1        right?      Or he owns the print shop, right?

   2                  A.       The print, yes.

   3                  Q.       In the e-mail in the third

   4        paragraph, or the third line, fourth line, it

   5        says, "Also please remove addresses that would

   6        suggest that they are military bases."                                   And lists

   7        some potential military bases; is that correct?

   8                  A.       Yes.

   9                  Q.       So, as you were sending the

 10         challenge list to the printer, you were also

 11         instructing him to remove the addresses that

 12         would suggest that they are military bases; is

 13         that right?

 14                   A.       Yes.

 15                   Q.       That would suggest that they were

 16         not scrubbed; is that right?                            At least not in the

 17         analysis?

 18                   A.       No, that would have suggested that,

 19         if they saw anything that slipped through, just

 20         to try to notate it and remove it.

 21                   Q.       In other words, was it your view

 22         that there may have been some military addresses



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 97 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 222
   1        or addresses on military bases that still

   2        remained on the list when the list went to

   3        Mr. Williams?

   4                  A.       It would -- conceivably, yes.

   5                           MR. NKWONTA:                  Could we pull up

   6             Exhibit 13 now.

   7        BY MR. NKWONTA:

   8                  Q.       Exhibit 13 is Mark's response.                                  And

   9        it says, "We will replace them on our files as we

 10         go forward.        It's not going to matter enough on

 11         the printed ones to back up and reprint.                                     Just

 12         remove them from the electronic copy as you send

 13         them."

 14                            Do you know whether those military

 15         addresses were ever removed?

 16                   A.       As I stated, we did all of the

 17         filtering out on our side and gave Mark notice

 18         that if they were to see any, remove them.                                       That

 19         is really all I can attest to.

 20                            This also has to do with, you know,

 21         whether or not anything even needed to be

 22         printed.       Whether or not Mark even needed to be



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 98 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 223
   1        involved because we have been given indication

   2        from the Secretary of State that they didn't need

   3        printed copies.

   4                           So, there is a lot of there is a lot

   5        that is inherent within this trying to understand

   6        what the process was going to be going forward.

   7                  Q.       Are you able to testify today that

   8        your challenge list did not include voters who

   9        lived on military installations?

 10                   A.       No.        I can testify that we did -- we

 11         put the data through all of the filters and

 12         followed the process that I have described.

 13                            But, data is data.                         It is possible.

 14                            MR. NKWONTA:                  We can pull down

 15              Exhibit 9 -- or Exhibit 13.

 16         BY MR. NKWONTA:

 17                   Q.       Ms. Engelbrecht, how did you go

 18         about recruiting challengers to submit these

 19         challenges in various counties in Georgia?

 20                   A.       Some had already -- some Georgians

 21         had already come to us which was really the

 22         impetus behind the idea that there might be



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 Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 99 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 224
   1        something that we could help them with.

   2                           And Georgia's elector challenge laws

   3        are unique in that it did afford an opportunity

   4        for citizens to engage in that way.

   5                           So, there were some that had come to

   6        us initially.

   7                           And our thought was that others that

   8        would be interested would either come to us or be

   9        referred if that was something that was of

 10         interest.

 11                   Q.       Were some of these voters referred

 12         by Republican Party officials?

 13                   A.       They were referred by, that group of

 14         James Cooper and Mark Williams as people that

 15         they knew for different counties, but we never

 16         did any deeper dives into their affiliations.

 17                   Q.       Were any of the voters who

 18         approached you, were any of them referred by the

 19         Republican Party officials?

 20                   A.       I don't recall.                      I don't think so,

 21         but I don't recall specifically.

 22                   Q.       When the voters approached you or



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 100 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 229
   1        Williams 374, at the bottom of Page 1 of

   2        Exhibit 36.

   3                           MR. NKWONTA:                  Can you scroll down so

   4             we can get the full e-mail.                              The other way.

   5             Great.

   6                           THE WITNESS:                  I'm sorry, could you

   7             ask your question again?

   8        BY MR. NKWONTA:

   9                  Q.       Well, I wanted you to take a minute

 10         to review the e-mail.

 11                   A.       Oh, sure.               Okay.

 12                   Q.       And this is a communication that

 13         went to potential challengers, correct?

 14                   A.       I can't, I can't confirm that -- let

 15         me, let me state that differently.

 16                            I guess if we looked at the address

 17         and if that was one of the challengers, but there

 18         are some things in this e-mail that give me pause

 19         sufficient to not be able to confirm that this

 20         came from Amy yet.                I'm not sure.

 21                   Q.       Okay.          Well, let's scroll down to

 22         Page 4 of this exhibit.                      And is part of that



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 101 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 230
   1        because of the redactions in the e-mail?

   2                  A.       No.

   3                           THE WITNESS:                  Would you continue to

   4             scroll?       This is just a different take on it.

   5                           MR. NKWONTA:                  Yes.         If you could

   6             stop there.

   7        BY MR. NKWONTA:

   8                  Q.       It shows on December 17th, 2020, Amy

   9        Holsworth wrote, and it shows Amy's e-mail

 10         address there.

 11                            And this document was produced, by

 12         the way, by one of the defendants.

 13                   A.       Yeah, I mean it appears in this, in

 14         this exhibit as though it came from Amy's e-mail

 15         address.       There are a number of things that stand

 16         out to me as not being normal.

 17                            But, it does appear, according to

 18         this, that it came from Amy's e-mail address.

 19                            MR. NKWONTA:                  And can you scroll a

 20              little bit so we can see the full e-mail?                                        I

 21              think there are a few more lines down.

 22              Perfect.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 102 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 231
   1        BY MR. NKWONTA:

   2                  Q.       Do you want to take a minute just to

   3        read that e-mail?

   4                  A.       Okay.

   5                  Q.       How many challengers did the True

   6        the Vote reach out to?

   7                           How many potential challengers did

   8        True the Vote reach out to in order to seek

   9        assistance in submitting these challenges?

 10                   A.       I don't know.

 11                   Q.       Did True the Vote try to recruit

 12         challengers in all Georgia counties?

 13                   A.       We were open to that for sure and

 14         prepared the analysis to support that.

 15                            But as far as the individuals and

 16         the voters who wanted to participate that was --

 17         you know, as much as people coming to us as it

 18         was people being referred that were also coming

 19         to us, so --

 20                   Q.       So this e-mail that went to

 21         potential challengers stated that True the Vote

 22         has identified over 500,000 people on the Georgia



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 103 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 232
   1        voter list that shouldn't be there.

   2                           Is that correct that True the Vote

   3        identified over 500,000 people in the Georgia

   4        voter lists?

   5                  A.       They are in -- yeah, there are a

   6        number of things in this e-mail that are not

   7        correct which is what is giving me pause, so --

   8                  Q.       Okay.          So, we will start first with

   9        that 500,000 figure.                  Is that correct?

 10                   A.       Sure.          Um, that is not the number

 11         that we had for our challenges, no.

 12                   Q.       And states that the 500,000 people

 13         should not be on the challenge list.

 14                            Is it True the Vote's position that

 15         all individuals on those challenges should not be

 16         registered in Georgia or should not be on the

 17         voter list?

 18                   A.       It was and is our position that

 19         according to the analysis that we provided, or

 20         that we supported, records corresponded with

 21         individual decisions to permanently change their

 22         residence.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 104 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 233
   1                           And therefore it would have made

   2        their record ineligible and appropriate in the

   3        scope of an elector challenge.

   4                           That sentence is -- doesn't indicate

   5        those nuances that I think are critical.

   6                  Q.       At that point had True the Vote

   7        concluded that these voters should not be on the

   8        voter rolls or that they were not legally

   9        registered?

 10                   A.       Well, again on the basis of our

 11         analysis, the, all that is and should have been

 12         done was the recognition of the information that

 13         was available and the provision of that to the

 14         counties.

 15                            This is, you know -- this e-mail is,

 16         doesn't clearly make those distinctions known or

 17         understood.

 18                   Q.       The e-mail also, I think the fourth

 19         paragraph down asked the voter to take a photo of

 20         and scan your signature and e-mail it with their

 21         voter registration information.

 22                            But it doesn't offer the voter an



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 105 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.     Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                 Page 234
   1        opportunity to review the list, does it?

   2                  A.        This e-mail does not offer that, no.

   3                  Q.        At the third paragraph from the

   4        bottom, in the last sentence of that paragraph,

   5        it says, "True the Vote has assured me that the

   6        list that they are challenging is 99.9 percent

   7        likely to be incorrectly registered."

   8                            Do you have any way of knowing

   9        whether 99.9 percent of your challenge list is

 10         incorrectly registered?

 11                   A.       No.        And my data background would

 12         never make that kind of statement.                                    And the

 13         statement itself is odd in the way the sentence

 14         is written, "True the Vote has assured me that

 15         the list."

 16                            It seems odd that Amy would have

 17         written that because Amy was part of the True the

 18         Vote team.         That is a distinction that you

 19         probably didn't -- well, you didn't ask for, no.

 20                            But specific to your inquiry about

 21         the 99.9, this data is -- data is data.                                      You

 22         shouldn't make assertions like that.



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 106 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 235
   1                  Q.       And regardless of who wrote it, you

   2        don't dispute that Amy sent it, right?

   3                  A.       I, according to what I'm looking at

   4        on the screen, the markings are there to support

   5        it.

   6                           It just does not --

   7                  Q.       If Amy testified that she sent it,

   8        would you have any reason to --

   9                  A.       No, if Amy testified that she sent

 10         it, if she said she sent it, then she sent it.

 11                   Q.       And if this document was produced by

 12         defendants, would you have any reason to doubt

 13         that this was sent by defendants?

 14                   A.       I mean if they said they did this,

 15         then they did this.

 16                            MR. NKWONTA:                  Can we go to Page 16

 17               of Exhibit 36.              And can you scroll a little

 18               bit so we get that full e-mail below from

 19               James Cooper.

 20                            THE VIDEOGRAPHER:                        Sorry, guys.            It

 21               is just -- stand by.

 22                            MR. NKWONTA:                  Okay.



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 107 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 236
   1                           THE VIDEOGRAPHER:                        And then you said

   2             Page 16 of 36?

   3                           MR. NKWONTA:                  Yes, Page 16.

   4                           THE VIDEOGRAPHER:                        Roger that.

   5        BY MR. NKWONTA:

   6                  Q.       And then you see that the e-mail

   7        from James Cooper is also on -- in Exhibit 36,

   8        and also includes similar language?

   9                  A.       Yes.

 10                   Q.       And if you look at the second

 11         paragraph, second to the last sentence, there is

 12         an additional sentence there that says, "If this

 13         very type action" -- I think there is a typo.                                         I

 14         will start again.

 15                            "If this very type action had been

 16         taken back in October, it is very likely Trump

 17         would have won Georgia."                       Do you see that there?

 18                   A.       I do.

 19                   Q.       At the very top, do you see the

 20         response from the voter to James Cooper that

 21         says, "True the Vote has my permission to use my

 22         signature to challenge the illegal votes in Cobb



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 108 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 237
   1        County."

   2                           Is that right?

   3                  A.       That is what it says, yes.

   4                  Q.       You mentioned that the challenges

   5        were not technically meant to remove voters from

   6        the voter rolls.

   7                           But isn't it true that some voters

   8        got that impression from the communications that

   9        were issued to these voters?

 10                            MS. SIEBERT:                  Objection.            You are

 11              asking her to testify about other people's

 12              state of mind.

 13                            Catherine, go ahead.

 14                            THE WITNESS:                  I mean, this is what

 15              James Cooper wrote.                     It is really all I can

 16              say.      It is what somebody else wrote.

 17                            MR. NKWONTA:                  Could we pull up

 18              Exhibit 39, please.

 19                                     (Exhibit 39 marked for

 20                                       identification.)

 21         BY MR. NKWONTA:

 22                   Q.       Exhibit 39 is a little bit clearer.



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 109 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 238
   1        And you will see at the top of Exhibit 39, James

   2        Cooper forwards the e-mail chain below to a

   3        number of individuals, including yourself.

   4                           And you can see that the body of the

   5        e-mail below that he forwarded is similar; is

   6        that right?

   7                  A.       Yes.

   8                  Q.       And in response to James Cooper's

   9        e-mail, the perspective challenger responds,

 10         "James, Here is my," it is redacted.                                  I'm

 11         assuming it is a registration number.

 12                            "I give True the Vote permission to

 13         use my name and signature in the pursuit of

 14         purging the rolls of the deceased, nonexistent

 15         and nonresidents of my county."

 16                            Is that a correct reading of the

 17         proposed challenger's response?

 18                            THE WITNESS:                  Can you scroll up a

 19              little bit, Joe?                 Or down.              Sorry.       Yes.

 20                            So, that is what you just read and

 21              that is what the document says, yes.

 22         BY MR. NKWONTA:



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 110 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 239
   1                  Q.       So, you would agree that that

   2        proposed challenger was of the belief that he or

   3        she was purging the voter rolls?

   4                  A.       I -- that is what that statement

   5        indicates.

   6                           MR. NKWONTA:                  Can we pull that down

   7             and pull up Exhibit 38.

   8                                    (Exhibit 38 marked for

   9                                      identification.)

 10         BY MR. NKWONTA:

 11                   Q.       Exhibit 38 is an e-mail that was

 12         also forwarded to you, Ms. Engelbrecht?

 13                            Do you see that?

 14                   A.       Yes.

 15                   Q.       And do you recognize this exhibit?

 16                   A.       I don't recall this, but --

 17                   Q.       Do you dispute that you received

 18         this e-mail?

 19                   A.       I mean, all of the indications in

 20         this exhibit would suggest that I would have

 21         received this e-mail, yes.

 22                   Q.       And the response to James Cooper's



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 111 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 240
   1        e-mail below, the one that he forwarded to you

   2        and others states, the voters name is redacted.

   3        "Has agreed to be the designated challenger for

   4        Jones County and True the Vote has expressed

   5        permission to use her attached digital signature

   6        for the limited and specific purpose of

   7        challenging voter registrations in Jones County."

   8                           Is that an accurate reading of the

   9        proposed challenger's response?

 10                   A.       That is what it says.

 11                   Q.       And this e-mail came from the Jones

 12         County GOP Chairman, right?

 13                            MR. NKWONTA:                  Could you scroll to

 14              the bottom.

 15                            THE WITNESS:                  To James Cooper, yes.

 16                            MR. NKWONTA:                  Could we take that

 17              down and pull up Exhibit 40.

 18                                     (Exhibit 40 marked for

 19                                       identification.)

 20         BY MR. NKWONTA:

 21                   Q.       Exhibit 40 is another e-mail that

 22         was forwarded to a number of folks, including



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 112 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 241
   1        yourself.

   2                           Do you see that?

   3                  A.       Yes.

   4                  Q.       And the response from the proposed

   5        challenger or the challenger below says, "True

   6        the Vote has my permission to use my name for

   7        challenging the voters in my county that I

   8        believe voted illegally."

   9                           And then the voter provides their

 10         address.

 11                            Is that a correct reading of that

 12         prospective challenger's response?

 13                   A.       That is a correct reading, yes.

 14                            MR. NKWONTA:                  Could we take that

 15              down and pull up Exhibit 37.

 16                                     (Exhibit 37 marked for

 17                                       identification.)

 18         BY MR. NKWONTA:

 19                   Q.       Exhibit 37 is another e-mail that

 20         James Cooper forwarded to a number of people,

 21         including yourself.

 22                            MR. NKWONTA:                  If you scroll down to



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 113 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 242
   1             the response from the prospective challenger.

   2        BY MR. NKWONTA:

   3                  Q.       It says, "James, Please find my

   4        digital signature and in the body of this e-mail

   5        you will find the necessary information you

   6        requested.         You and True the Vote have my

   7        permission to use my name, digital signature and

   8        other necessary information to challenge voter

   9        registrations in my County of Dodge."

 10                            Is that a correct reading of the

 11         prospective challenger's response?

 12                   A.       Yes.

 13                   Q.       These prospective challengers that

 14         are shown, would you agree that they believed

 15         they were either purging voters or asserting

 16         challenges to purge voters from the rolls or to

 17         accuse voters of voting illegally?

 18                            MS. SIEBERT:                  Again, objection to

 19              the extent that you are asking her for

 20              somebody's state of mind.

 21                            But, go ahead, Catherine.

 22                            THE WITNESS:                  Yeah, I mean this



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 114 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 243
   1             is -- this is between what James sent out and

   2             the response.

   3                           If those people for whom the, their

   4             information has been redacted went on to be

   5             associated with, as an elector in their

   6             county and work through the True the Vote

   7             arrangement, there would have been

   8             distinctions throughout.

   9                           So at this point I can't state to

 10              their state of mind, but this is between

 11              James Cooper and people, other people.                                      So, I

 12              don't know.

 13         BY MR. NKWONTA:

 14                   Q.       In their responses, they are

 15         expressly providing permission to challenge voter

 16         registrations, to challenge illegal voting, or to

 17         purge the voter rolls; is that correct?

 18                   A.       That is what these e-mails, you

 19         know, how they read, yes.

 20                            MR. NKWONTA:                  We can pull down

 21              Exhibit 37.            I want to ask you a little bit

 22              about the data analysis once again.                                   And I



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 115 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.     Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                 Page 244
   1              want to return to Exhibit 8.

   2                                    (Exhibit 8 marked for

   3                                      identification.)

   4        BY MR. NKWONTA:

   5                  Q.       I guess this is the first time you

   6        are seeing Exhibit 8 in this deposition.

   7                           Ms. Engelbrecht, do you recognize

   8        Exhibit 8?

   9                  A.       This is the first time I have seen

 10         it.

 11                   Q.       And you have never seen any analysis

 12         of any political party breakdown or racial or

 13         demographic breakdown of the challenge lists?

 14                   A.       No, I have seen that.                              I have seen

 15         that.

 16                   Q.       Where did you see that?

 17                   A.       It was provided when there were

 18         comments being made of, you know, as I mentioned

 19         earlier of bias being entered in.                                 And because

 20         Georgia uniquely tracks those elements, you can

 21         run, you know, the data or an analysis around

 22         whether or not that was true or whether or not



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 116 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.     Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                 Page 245
   1        the, what the data shows.

   2                           So, I knew that that had occurred.

   3                  Q.       Do you know when this analysis was

   4        first conducted?

   5                  A.       The analysis on this exhibit?                                   Or --

   6                  Q.       The analysis of the demographic

   7        breakdown of the challenge list.

   8                  A.       I don't know exactly.                              It came later

   9        as a form of reputation of the assertion that

 10         there was -- that that was part of this.

 11                            But, I don't know the date, no.

 12                   Q.       True the Vote announced its

 13         challenge program on December 18th, 2020; is that

 14         correct?

 15                   A.       I don't recall exactly.                             It would

 16         have been around then, yes.

 17                   Q.       And if I told you the date was --

 18         the date that had been provided by defendants was

 19         December 18th, would you have any reason to

 20         dispute that?

 21                   A.       No real reason to dispute it, no.

 22                   Q.       And if you look at this file here,



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 117 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 249
   1                  Q.         And would this analysis have been

   2        conducted by Gregg Phillips or OPSEC?

   3                  A.         Yeah, I would believe so, yes.

   4                  Q.         Would that have been done at True

   5        the Vote's direction?

   6                  A.         I just, I don't recall.                           It is -- I

   7        don't recall.           It is possible.                      I don't recall.

   8                             MR. NKWONTA:                 We can pull this down.

   9        BY MR. NKWONTA:

 10                   Q.        The text file you were referring to,

 11         under what circumstances did you have a chance to

 12         review that text file?

 13                   A.        You asked me if I had ever seen

 14         anything.          I'm just saying I recall seeing

 15         something like that.                   And it would have been -- I

 16         mean I just from the recesses of my mind I recall

 17         seeing it.

 18                             And in my, in my background in data

 19         and technology, I associate the look of something

 20         a little bit different than what I just saw.

 21                             But, I hope that is helpful.

 22                             MR. NKWONTA:                  I would like to turn



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 118 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 250
   1             next to the press release, the launch that we

   2             have discussed, the December 18th launch of

   3             the elector challenges.                         Could we pull up

   4             Exhibit 62, please.

   5                                    (Exhibit 62 marked for

   6                                      identification.)

   7                           MR. NKWONTA:                  And could we go to the

   8             second page, Exhibit 2 or Exhibit 62.

   9        BY MR. NKWONTA:

 10                   Q.       Ms. Engelbrecht, do you recognize

 11         Exhibit 62?

 12                   A.       Yes.

 13                   Q.       What is it?

 14                   A.       A post to our website that describes

 15         the challenge of, the elector challenge.

 16                   Q.       The title of the post says, "True

 17         the Vote partners with Georgians in Every County

 18         to preemptively challenge 364,541 potentially

 19         ineligible voters."

 20                            When you issued this post, had you

 21         in fact partnered with Georgians in Every County

 22         to preemptively challenge 364,000-plus voters?



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 119 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 251
   1                  A.       No.        This was just the beginnings of

   2        the -- I mean this is the first announcement.                                         We

   3        had people that had come to us, but we were, you

   4        know, had already -- we were prepared to,

   5        certainly.         But, no.

   6                  Q.       So, why does it say True the Vote

   7        partners with Georgians in Every County to

   8        preemptively challenge 364,000 potentially

   9        ineligible voters?

 10                   A.       Partnering in the sense of capable

 11         of partnering with, it is the best I can explain.

 12                   Q.       Would it be fair to say that it is

 13         not accurate?

 14                   A.       No.        I wouldn't, I wouldn't think

 15         that is fair.          This is sort of a forward looking

 16         statement of the willingness to partner with

 17         Georgians in Every County.

 18                   Q.       And the next paragraph you state,

 19         "We are proud to be working alongside patriots

 20         across the Peach State, Derek Sommerville of

 21         Forsyth County and Mark Davis of Gwinnett County

 22         who have been leading citizen efforts to



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 120 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 252
   1        highlight issues in Georgia's voter rolls."

   2                           And you also mention Mark Williams

   3        and Ron Johnson and James Cooper.

   4                           What did you mean by working

   5        alongside these individuals?

   6                  A.       Just that they were also involved

   7        in -- in the case of Derek and Mark Davis, they

   8        were -- you know, they were working through their

   9        own elector challenges.                      And in the case of the

 10         other gentlemen, you know, the Mark Williams'

 11         support with helping to work on the printing and

 12         the fact that he had connected the other

 13         gentlemen who were, you know, interested in

 14         participating.

 15                            And frankly, it was a comment meant

 16         more to show just support for the engagement of

 17         citizens.

 18                   Q.       So, at the time you issued this

 19         press release, is it fair to say that you had not

 20         submitted 364,541 elector challenges?

 21                   A.       That is correct.                       We did not do

 22         that.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 121 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 253
   1                  Q.       And at the time you issued this

   2        press release is it fair to say that you had not

   3        identified challengers in all 159 counties?

   4                  A.       Yeah, I think that is fair to say,

   5        yes.

   6                  Q.       How many challengers had you

   7        identified at the time True the Vote issued this

   8        press release?

   9                  A.       That I do not recall.

 10                   Q.       Do you know how many counties or how

 11         many challenges True the Vote had submitted at

 12         the time that it issued this press release or

 13         website post?

 14                   A.       At this point I don't believe that

 15         there had been any submitted.                             But I do not --

 16         let me rephrase that.

 17                            I do not specifically recall that.

 18         I have a general recollection, but I do not

 19         specifically recall.

 20                   Q.       How many challenges did True the

 21         Vote end up filing for the, for the runoff

 22         election?



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 122 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 254
   1                  A.         We ended up with electors that

   2        wanted to challenge, totaling 65 total counties.

   3        And, so submissions were made in those counties

   4        on behalf of those electors.

   5                  Q.         And why didn't True the Vote file

   6        challenges in all 159 counties as it stated in

   7        the press release?

   8                             THE WITNESS:                 Guys, I just got a

   9             password required notice.                             Can you all see

 10              that on the screen or is it just me?

 11                             THE VIDEOGRAPHER:                        Sorry, Catherine.

 12              This is Joe.              That might be on your end.                            I'm

 13              not sure what it is relating to.

 14                             THE WITNESS:                  It is, it is.               I

 15              apologize.           I just Xed out of it and it is

 16              gone.         I apologize.

 17                             THE VIDEOGRAPHER:                        Okay.

 18                             THE WITNESS:                  I'm sorry, could you

 19              repeat the question?

 20         BY MR. NKWONTA:

 21                   Q.        Sure.

 22                             MR. NKWONTA:                  Can the court reporter



www.DigitalEvidenceGroup.com          Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 123 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 255
   1             read back the question, please.

   2                           (Whereupon, the record was read by

   3             the reporter as requested.)

   4                           THE WITNESS:                  Again, I think the

   5             press release was meant to acknowledge that

   6             we had done the analysis to support that.

   7             The reason that we didn't ultimately is

   8             because it wasn't for us to do.

   9                           It was for electors in the, in their

 10              respective counties.                      And that is just the

 11              way the process works.

 12         BY MR. NKWONTA:

 13                   Q.       But True the Vote said it was going

 14         to do this in the press release, in the very

 15         first line, right?

 16                   A.       Yeah.          Again, I think that the

 17         intent of the line was to suggest that we -- that

 18         True the Vote was prepared to do that and do that

 19         in every county.

 20                            But, you know, we go quickly into

 21         the description of an elector challenge.                                     And it

 22         is, you know, the qualifications therein, so that



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 124 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 256
   1        is, that is what was -- that is how it was meant

   2        to be taken.

   3                  Q.       So, True the Vote did not actually

   4        intend to file challenges in all 159 counties?

   5                  A.       Oh, no.            We were definitely prepared

   6        to do that, but it was up to electors.

   7                           I mean the reason the True the Vote

   8        exists is to help support citizens who want to

   9        engage in their process.                       And this is a process

 10         in Georgia that is afforded to electors and, you

 11         know, that is -- we were ready to do that.

 12                            But, the process is that you only

 13         work with electors from their specific counties.

 14                            MR. NKWONTA:                  Can we take a brief

 15              five-minute break?

 16                            THE VIDEOGRAPHER:                        We are now going

 17              off the record --

 18                            MR. NKWONTA:                  Is that okay with you

 19              all?

 20                            MS. SIEBERT:                  Sure.

 21                            THE VIDEOGRAPHER:                        The time is

 22              3:00 p.m.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 125 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 259
   1                  Q.       Who would be able to confirm whether

   2        Time For A Hero has a Facebook page?

   3                  A.       The last person who ran the

   4        organization managed all of the social media, so

   5        he would be able to.

   6                  Q.       And who was that person?

   7                  A.       I couldn't recall his name earlier,

   8        but his name is Ty Bathurst.

   9                  Q.       How do you spell that?

 10                   A.       T-Y, B-A-T-H-U-R-S-T.

 11                   Q.       And do you have any reason to doubt

 12         that this is Time for a Hero's Facebook page?

 13                   A.       Well, Time for A Hero is no longer

 14         an organization that I am connected with.                                      I

 15         filed their closing tax return a couple years

 16         ago.    If this was still there I, I am -- I can't

 17         say that I have reason to doubt it, but I

 18         can't -- I don't know about it.

 19                            MR. NKWONTA:                  Can we go to Page 19.

 20              But before we do, I noticed some sound issues

 21              when Ms. Engelbrecht was responding.                                    I just

 22              want to make sure that we were able to



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 126 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 260
   1             capture the response. If there is anything to

   2             resolve.

   3                           THE REPORTER:                   I'm happy to read

   4             back the answer if you'd like or do you want

   5             her -- do you want me to read back what I

   6             have?

   7                           MR. NKWONTA:                  Yes, please.

   8                           (Whereupon, the record was read by

   9             the reporter as requested.)

 10         BY MR. NKWONTA:

 11                   Q.       And you have no reason to doubt that

 12         Time For A Hero created a Facebook page?                                     In fact

 13         you acknowledged that Time For A Hero created a

 14         Facebook page?

 15                   A.       I, acknowledge that when the

 16         organization was active, we had somebody that was

 17         managing, or, you know, overseeing social media.

 18                            And so, it is not outside of the

 19         realm of possibility, but I can't confirm it.

 20                            I mean I can confirm that I'm

 21         looking at a document that says Time For A Hero,

 22         but I can't confirm anything past that.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 127 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.    Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 261
   1                           MR. NKWONTA:                  Could we go to Page 19

   2             of the Facebook page, of Exhibit 72.

   3        BY MR. NKWONTA:

   4                  Q.       Is that -- is that you in that

   5        Facebook post from August 8, 2020?

   6                  A.       That is me, that is me.

   7                           MR. NKWONTA:                  And could we go to the

   8             next post on the following page, Page 20.

   9        BY MR. NKWONTA:

 10                   Q.       It says, "Crusade for Freedom coming

 11         soon."

 12                            What is the Crusade for Freedom?

 13                   A.       I don't, I don't know.                             I don't have

 14         any affiliation with Crusade for Freedom.

 15                            I, I guess that Ty was posting some

 16         stuff from True the Vote here just to keep stuff

 17         on social media.              I don't know about Crusade for

 18         Freedom.

 19                   Q.       So, he was posting stuff from where?

 20                   A.       From True the Vote.                          But, I don't

 21         know about this.

 22                   Q.       Uh-huh.            Have you heard that phrase



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 128 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.     Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                 Page 262
   1        before?

   2                  A.       Have I heard the phrase, Crusade for

   3        Freedom?

   4                  Q.       Yes.

   5                  A.       I don't recall.

   6                  Q.       Have you seen this symbol before?

   7                  A.       This --

   8                  Q.       This diagram, this symbol here, this

   9        Crusade for Freedom symbol?

 10                   A.       Not specific to this.                              I feel like I

 11         have seen it broadly before.                            May I ask, is this

 12         current?       Is this currently -- I don't know if I

 13         can ask that.

 14                            But, is this currently on Facebook?

 15                   Q.       Yes, if you look at the top left

 16         corner, you will see the download date.

 17                   A.       I didn't know if that is when it

 18         was.

 19                   Q.       Yes.

 20                   A.       Okay.          Well, okay.                 Thank you.

 21                            MR. NKWONTA:                  So, we can pull down

 22              Exhibit 72.            Could we pull up Exhibit 73.



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 129 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 263
   1                                    (Exhibit 73 marked for

   2                                      identification.)

   3        BY MR. NKWONTA:

   4                  Q.       And could we go to the second page.

   5                           Ms. Engelbrecht, do you recognize

   6        that tweet in Exhibit 73, the tweet at the top?

   7                  A.       No.

   8                  Q.       The Twitter handle and the name on

   9        top of it states Crusade for Freedom, right?

 10                   A.       Uh-huh.

 11                   Q.       It is the same -- it is the same

 12         slogan that was on the Time For A Hero Facebook

 13         page; is that right?

 14                   A.       Yes.

 15                   Q.       And that symbol, the logo or the

 16         symbol for that Twitter handle, that is the same

 17         or similar logo that was on the Time For A Hero

 18         Facebook page, correct?

 19                   A.       Yes.

 20                   Q.       And the tweet says, "We have just

 21         prospectively challenged the eligibility of

 22         360,000 voters in Georgia."                          Is that right?



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 130 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 264
   1                  A.       That is what it says, yes.

   2                  Q.       Are you aware of any other groups

   3        that challenged the eligibility of approximately

   4        360,000 voters in Georgia during the runoff

   5        elections?

   6                  A.       No.

   7                  Q.       The hashtag, Eyes on Georgia, that

   8        was the same slogan that has appeared on several

   9        True the Vote documents, I think including that

 10         invoice from OPSEC, correct?

 11                   A.       Yes.

 12                   Q.       And then the second hashtag,

 13         Validate the Vote Georgia, that was the slogan

 14         that was recommended to you by the consultant; is

 15         that correct?

 16                   A.       Yes, yes.

 17                   Q.       And that tweet was followed up by

 18         the one right under it.                      It says, "If the Georgia

 19         counties refuse to handle the challenges of

 20         366,000 ineligible voters in accordance with the

 21         law, I plan to release the entire list so America

 22         can do the QC."



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 131 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 265
   1                           Is that a correct reading of the

   2        tweet underneath?

   3                  A.       It is a correct reading of it, yes.

   4                  Q.       And this tweet also has a Crusade

   5        for Freedom Twitter handle name and symbol that

   6        appeared on the Time For A Hero page?

   7                  A.       Yes.

   8                  Q.       And the hashtags underneath say

   9        Validate the Vote Georgia, which is the slogan

 10         that is the True the Vote uses, correct?

 11                            And Eyes on Georgia, which is

 12         another slogan that True the Vote uses, correct?

 13                   A.       During that period, yes, that is

 14         correct.

 15                   Q.       And this tweet was dated

 16         December 20, 2020, correct?

 17                   A.       Correct.

 18                   Q.       So, moving on from those tweets, I

 19         wanted to ask you specifically about the Validate

 20         the Vote program.

 21                            And I wanted to explore that in a

 22         little bit more depth.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 132 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 266
   1                           MR. NKWONTA:                  Could we pull up

   2             Exhibit 1, please.                    Can we -- is there any

   3             way to enlarge that a little bit?

   4                                    (Exhibit 1 marked for

   5                                      identification.)

   6        BY MR. NKWONTA:

   7                  Q.       Ms. Engelbrecht, do you recognize

   8        this document?

   9                  A.       Yes.

 10                   Q.       What is it?

 11                   A.       This is a one-page document that was

 12         asked for by, asked to be provided to a donor who

 13         had come to True the Vote and wanted a one-page

 14         document to describe some of the activities that

 15         we were planning to work through.

 16                   Q.       And did the donor have any requests

 17         or any suggestions for activities that True the

 18         Vote should engage in?

 19                   A.       This donor is connected with the

 20         consultant that I mentioned earlier.

 21                            So, the contribution was to use the

 22         name Validate the Vote and to put a one-pager



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 133 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 267
   1        together for this donor's use.

   2                  Q.         And is this, this one pager, is this

   3        essentially the framework for the Georgia elector

   4        challenge or the activities that occurred in

   5        Georgia afterward?

   6                  A.         I -- no.            This doesn't have any -- I

   7        mean, we could look at it.                          I would like to look

   8        at the whole thing.                  But, I don't believe so, no.

   9                  Q.         So, this document -- let's look at

 10         the first sentence underneath which says, "Goal:

 11         To ensure the 2020 election returns reflect one

 12         vote cast by one eligible voter and therefore

 13         protect the right to vote and the integrity of

 14         the election."

 15                             Is that correct?                       Does that reflect

 16         your understanding?

 17                   A.         Yes.

 18                   Q.        And, underneath that, the Problem,

 19         it says, "There is significant evidence that

 20         there are numerous instances of illegal ballots

 21         being cast and counted in the 2020 general

 22         election.          Most of these illegal votes are being



www.DigitalEvidenceGroup.com          Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 134 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 268
   1        counted in Democratic counties and are

   2        suppressing legitimate results."

   3                           Do you see that first paragraph

   4        underneath Problem?

   5                  A.       I do.

   6                  Q.       And who wrote that?

   7                  A.       Pardon me, sorry.                        I don't, I don't

   8        specifically recall.

   9                  Q.       But the document came from True the

 10         Vote, right?

 11                   A.       That is correct, yes.

 12                   Q.       How did True the Vote determine that

 13         most of the illegal votes were being counted in

 14         Democratic counties?

 15                   A.       I would not know why that would have

 16         been written that way.

 17                   Q.       This was prepared shortly after the

 18         November presidential election, correct?

 19                   A.       Yes.

 20                   Q.       Before new results had been

 21         published --

 22                   A.       That's correct.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 135 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 269
   1                  Q.       -- or certified I should say; is

   2        that correct?

   3                  A.       That is correct.

   4                  Q.       And by then True the Vote had

   5        indicated in this Validate the Vote document that

   6        there is significant evidence of illegal ballots,

   7        most of which were being counted in Democratic

   8        counties; is that right?

   9                  A.       That is what this says, yes.

 10                   Q.       The next paragraph starts with,

 11         "This is a result of Democrat official's refusal

 12         to obey state election laws and counting illegal

 13         votes."       Is that --

 14                   A.       That is what it says, yes.

 15                   Q.       How did True the Vote reach that

 16         conclusion?

 17                   A.       I, as a -- you know, as a

 18         promotional piece, this was, you know, those --

 19         that phraseology was used.                         I, you know, I don't

 20         really have much more to say about that than

 21         that.

 22                   Q.       The next sentence says, "It is also



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 136 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 270
   1        the result of deliberate election fraud."

   2                           What evidence did True the Vote have

   3        to make that statement?

   4                  A.       I don't recall.

   5                  Q.       The next sentence, "The situation

   6        has been aided by the Democrat's deliberate

   7        effort to radically expand mail-in balloting,

   8        creating myriad opportunities for voter fraud

   9        that does not exist with in-person voting."

 10                            Did True the Vote have any evidence

 11         to support that statement?

 12                   A.       That statement in particular I would

 13         say yes in that the -- there was an effort to

 14         radically expand mail-in balloting or mail-in

 15         voting.

 16                            And it has been documented over time

 17         that mail-in balloting, mail-in voting does

 18         increase the opportunity for vote fraud or

 19         election fraud.

 20                   Q.       Had True the Vote identified any

 21         flood of illegal votes as referenced in that

 22         following paragraph?



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 137 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.     Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                 Page 271
   1                  A.       This was a promotional piece.                                   I

   2        believe that the third paragraph there was to tie

   3        to the one above saying that there was a radical

   4        expansion and therefore it would precipitate a

   5        flood.

   6                  Q.       It says, "This flood of illegal

   7        votes violates the U.S. Constitution's right to

   8        vote," and the sentence continues, "by diluting

   9        the votes of legitimate voters."

 10                            But, had True the Vote identified

 11         any flood of illegal votes at this point?

 12                   A.       No, this was a promotional piece

 13         that was written.

 14                   Q.       And then we get to the plan.                                  It

 15         says, "Solicit whistleblower testimonies for

 16         those impacted by or involved in election fraud."

 17                            Did True the Vote obtain those

 18         whistleblower testimonies?

 19                            MS. SIEBERT:                  I'm sorry.              I'm just

 20              going to object one more time.                                   And maybe it

 21              is just a point of clarification.

 22                            Are you limiting these questions to



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 138 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 272
   1             the six states, the jurisdictions?

   2                           MR. NKWONTA:                  I don't believe I have

   3             to.      This is specifically about the Validate

   4             the Vote program which is -- so this is in --

   5             in other words I don't read our deposition

   6             notice or the court's order to say every

   7             single topic is constrained to these six

   8             states.

   9                           So, if I ask Ms. Engelbrecht, for

 10              instance, what Validate the Vote program

 11              means, you can't limit her testimony to six

 12              states.

 13                            MS. SIEBERT:                  Well, the court's

 14              order says that "True the Vote shall present

 15              a witness that is adequately prepared to

 16              answer questions relating to topics listed in

 17              the plaintiff's respective 30(b)(6)

 18              deposition notice with the following

 19              limitations:

 20                            "Plaintiff shall limit their

 21              questions regarding True the Vote's and OPSEC

 22              Group LLC's pre and post-election activities



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 139 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 273
   1             to 2012, onward, and the following states:

   2             Georgia, Texas, Ohio, Pennsylvania, Michigan,

   3             Wisconsin."

   4                            So, the court specifically stated

   5             the topics listed in the 30(b)(6) were to be

   6             limited and would include that following

   7             limitation.

   8                            So that is directly part of the

   9             court's order.

 10                            MR. NKWONTA:                  I understand your

 11              point.        I disagree that we cannot ask her

 12              about soliciting whistleblower testimonies

 13              unless we say soliciting whistleblower

 14              testimonies in a specific state, because we

 15              are literally asking to explain a document.

 16                            So, if -- my question to you is are

 17              you instructing her not to answer this

 18              question with respect to any state outside of

 19              the target jurisdictions that we have

 20              identified?

 21                             MS. SIEBERT:                 Yes, I am.

 22         BY MR. NKWONTA:



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 140 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 274
   1                  Q.       Ms. Engelbrecht, are you going to

   2        follow your counsel's instruction?

   3                  A.       Yes, I will.

   4                  Q.       So, can you answer my question with

   5        respect to the six target states that we

   6        discussed?

   7                  A.       Can you repeat the question?

   8                  Q.       Sure.

   9                           MR. NKWONTA:                  Can the court reporter

 10              read back the question.

 11                            (Whereupon, the record was read by

 12              the reporter as requested.)

 13                            THE WITNESS:                  We did not obtain any

 14              whistleblower testimonies.

 15         BY MR. NKWONTA:

 16                   Q.       The second bullet in the plan says,

 17         "Build public momentum through broad publicity."

 18                            Does that include -- well, why don't

 19         you explain to me what type of broad publicity

 20         was anticipated.

 21                   A.       Again, this is the first -- I have

 22         seen an orientation of a one-pager like this.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 141 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 275
   1        This is the first time I have seen this one-pager

   2        with some of this language.

   3                           So, I can only respond to -- you

   4        know, I mean, to repeat back build public

   5        momentum through broad publicity.                                 We didn't do

   6        any advertising of any sort.                            I had a podcast, I

   7        mean that was it.

   8                  Q.       Would you consider a press

   9        release --

 10                   A.       Oh, I'm so sorry.                        Yes, and if we

 11         did press releases, that would be considered in

 12         that, in that bullet, yes.

 13                   Q.       The next bullet, "Galvanize

 14         Republican legislative support in key states."

 15                            Why the focus on Republican

 16         legislative support?

 17                   A.       I, I don't know.                       I don't know why

 18         that was written that way.

 19                   Q.       The next is, "Aggregate and analyze

 20         data to identify patterns of election

 21         subversion."         And that task is assigned to OPSEC

 22         group.      Do you see that?



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 142 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 276
   1                           THE WITNESS:                  Can you scroll up, can

   2             you scroll a little bit, Joe?

   3                           That would have been going back to

   4             the litigation support for the cases that

   5             were being filed shortly after the election.

   6        BY MR. NKWONTA:

   7                  Q.       So, the items that we discussed on

   8        that OPSEC invoice including litigation support,

   9        that was part of the aggregating and analyzing

 10         data to identify patterns of election subversion

 11         that we see in this document?

 12                   A.       I mean I would, aggregate and

 13         analyze data to identify patterns full stop.

 14         But, that would have been part of that, yes.

 15                   Q.       "File lawsuits in federal court with

 16         capacity to be heard by SCOTUS," the Supreme

 17         Court of the United States; is that correct?

 18                   A.       That is what it says, yes.

 19                   Q.       And is that referring to the

 20         lawsuits that were filed in Georgia,

 21         Pennsylvania, Michigan, Wisconsin, Arizona?

 22                            And also it lists the key states



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 143 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 277
   1        here below as well, Arizona, Nevada --

   2                  A.        Uh-huh.

   3                  Q.        Are those the lawsuits or legal

   4        actions that that plan is referring to?

   5                  A.        Yes.         Those would have been in that

   6        timeline of lawsuits.

   7                  Q.        And then next it goes on to the

   8        legal strategy for the Validate the Vote program.

   9                            And it states that, "Jim Bopp will

 10         file federal suits in the seven closest

 11         battleground states to investigate voter fraud,

 12         expose it and nullify the results of the state's

 13         election so that the presidential electors can be

 14         selected in a special election or by the state

 15         legislature."

 16                             Why was the goal to nullify the

 17         results of the state's election even before the

 18         election had been certified?

 19                   A.        I do not know why this was -- I

 20         don't -- that was not the goal.                                Let me answer it

 21         that way.          That was not the goal.

 22                             As we discussed earlier the goal was



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 144 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 283
   1                           Is that a correct reading of

   2        Paragraph 41?

   3                  A.       Yes, it is a correct reading.

   4                  Q.       And other than that link, did True

   5        the Vote have any evidence to support the

   6        allegation that noncitizens, or as many as

   7        70,000-plus noncitizens, voted for Joe Biden in

   8        Georgia?

   9                  A.       I think it was just this link.                                  No.

 10         No.

 11                   Q.       Are you aware of any analysis or any

 12         study that has been done to confirm this or any

 13         additional corroborating evidence that has been

 14         provided to support this?

 15                   A.       No.

 16                   Q.       Do you believe this to be true?

 17                   A.       I believe that Just Facts wrote that

 18         article.       Yes, I would have to look at the

 19         underpinnings but I mean that is plausible,

 20         certainly.

 21                   Q.       If we go to the Prayer for Relief,

 22         starting on Page 20 and which spills over to



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 145 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 284
   1        Page 21.

   2                           Under Paragraph 65, would you agree

   3        that that paragraph seeks to invalidate the

   4        defendant counties' presidential election

   5        results?

   6                  A.       That is what that communicates, yes.

   7                  Q.       And just the counties that were

   8        named as defendants in this lawsuit, correct?

   9                  A.       I apologize.                  Can you restate the --

 10                   Q.       Sure.          So, this request to

 11         invalidate the results, this request is to

 12         invalidate the results of the counties that were

 13         named as defendants in this lawsuit; is that

 14         right?

 15                   A.       Well, the -- what it says is in

 16         contested counties or in the state overall.

 17                            So that the -- oh, so that the

 18         counties -- yeah, I, I -- that appears to be what

 19         it communicates.              I'm not a lawyer, but that

 20         appears to be what it communicates.

 21                   Q.       The Validate the Vote program

 22         document that I showed you earlier made reference



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 146 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.    Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                                Page 285
   1        to targeting Democratic counties.

   2                           Does this complaint carry out that

   3        that strategy?

   4                  A.       I would have to, I guess look at --

   5        I mean I would have to run the numbers to see if

   6        the counties were leaning in that way.                                    I

   7        don't -- it is certainly not part of my mindset

   8        on any of it, so --

   9                  Q.       Why is True the Vote focused on

 10         enjoining the results of the presidential

 11         election in this lawsuit -- let me rephrase.

 12                   A.       Sure.

 13                   Q.       There were a number of elections

 14         that occurred in November, both elections for

 15         president -- both for the presidential race and

 16         there were a number of other state and federal

 17         races on the same ballot.

 18                            This lawsuit is focused on the

 19         presidential election results only.                                   Why is that?

 20                   A.       I don't know.

 21                   Q.       The Validate the Vote program

 22         document that we just discussed, Exhibit 1, would



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 147 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 286
   1        you agree that was also focused on overturning

   2        the results of the presidential election?

   3                  A.       That was the language on that page,

   4        yes.

   5                           MR. NKWONTA:                  Could we take a quick

   6             ten-minute recess, I just want to see how

   7             much I have left.

   8                           THE VIDEOGRAPHER:                        We are now going

   9             off the video record.                       The time is 3:49 p.m.

 10                            (Recess taken -- 3:49 p.m.)

 11                            (After recess -- 4:00 p.m.)

 12                            THE VIDEOGRAPHER:                        We are now going

 13              back on the video record the time is

 14              4:00 p.m.

 15         BY MR. NKWONTA:

 16                   Q.       Ms. Engelbrecht, we just took a

 17         short break.         You understand you are still under

 18         oath?

 19                   A.       Yes.

 20                   Q.       So, before we went on break we

 21         discussed the Georgia lawsuit that was filed

 22         immediately after the November election.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 148 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 287
   1                           Did True the Vote also participate

   2        in filing a lawsuit in Pennsylvania shortly after

   3        the November general election?

   4                  A.       Yes.

   5                  Q.       And in that lawsuit True the Vote

   6        sued specific counties, correct?

   7                  A.       I don't recall.

   8                  Q.       Do you have any reason to dispute

   9        that?

 10                   A.       No.        I mean the briefing will show

 11         it.    So, no, it is whatever the briefing says.

 12                   Q.       And do you dispute that that lawsuit

 13         also sought to enjoin certification of the

 14         election results in specific counties?

 15                   A.       If that is what the brief says,

 16         then --

 17                   Q.       Does True the Vote have or did True

 18         the Vote submit any evidence to support the

 19         allegations of voter fraud in the Pennsylvania

 20         lawsuit?

 21                   A.       There were a number of --

 22                            I'm sorry, could you repeat the



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 149 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 288
   1        question?          I want to make sure I get it right.

   2                            MR. NKWONTA:                  Could the court

   3             reporter read the question back, please.

   4                            (Whereupon, the record was read by

   5             the reporter as requested.)

   6                            THE WITNESS:                  I'm aware that there

   7             were points added into the filing that

   8             supported the concerns around election fraud

   9             so that is what I would say.

 10         BY MR. NKWONTA:

 11                   Q.        Beyond what was written in the

 12         actual filings, are you aware of any evidence or

 13         have any additional evidence to support the

 14         claims of voter fraud in the Pennsylvania

 15         lawsuit?

 16                   A.        At the time, what we had was what

 17         was put into the file with the -- yeah, that is

 18         at the time it was just what was filed.

 19                   Q.        Did you obtain any additional

 20         evidence since then?

 21                   A.        For the purposes of the lawsuit, no.

 22                   Q.        I will ask you the same question



www.DigitalEvidenceGroup.com          Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 150 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 289
   1        about Michigan.

   2                           Did True the Vote participate in

   3        filing a lawsuit in Michigan shortly after the

   4        November election to challenge the election

   5        results or to prevent certain counties from

   6        certifying the election results?

   7                  A.       Yes.

   8                  Q.       And does True the Vote have any

   9        evidence, other than what was written in the

 10         filings, to support the claims of voter fraud

 11         asserted in the Michigan complaint?

 12                   A.       What was put in the brief was what

 13         we had.

 14                   Q.       And True the Vote hasn't obtained or

 15         does not have any additional evidence beyond?

 16                   A.       None of the suits were dismissed, so

 17         no.

 18                   Q.       I will ask you the same question for

 19         Wisconsin.

 20                            Did True the Vote participate in the

 21         filing of a lawsuit in Wisconsin shortly after

 22         the November general election?



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 151 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 290
   1                  A.       Yes.

   2                  Q.       And does True the Vote have or did

   3        True the Vote collect any additional evidence

   4        beyond what was written in the complaints to

   5        support the allegations of voter fraud in the

   6        Wisconsin lawsuit?

   7                  A.       No.        Not beyond what was in the

   8        filing we didn't -- nothing else was done and

   9        then the case was dismissed.

 10                   Q.       And that case -- those cases that I

 11         just mentioned, the Georgia case, the Michigan

 12         case, the Pennsylvania case, the Wisconsin case,

 13         all of those cases were voluntarily dismissed.

 14         Is that correct, by the plaintiffs?

 15                   A.       Yes, or withdrawn.                         I'm not certain

 16         what the proper term is.                       But, yes.

 17                   Q.       And those lawsuits were voluntarily

 18         dismissed without providing any additional

 19         evidence or support to the court; is that

 20         correct?

 21                   A.       Correct.

 22                   Q.       Why were those lawsuits dismissed



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 152 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 291
   1        shortly after they were filed?

   2                  A.       The data that was necessary to be

   3        exacting in the support of the filing or in --

   4        not support necessarily but in the ongoing filing

   5        and the way that the case would naturally sort of

   6        unfold, that data was not available.

   7                           And that specifically would have

   8        been the complete record from the state of voters

   9        who actually voted in the 2020 election.                                     And

 10         then we had quite a number of other documents

 11         that we were requesting, but most specifically it

 12         was the final register of who voted in the 2020

 13         election which was not available for months.

 14                            MR. NKWONTA:                  I would like to pull

 15              up another exhibit.                     Exhibit 71 please.                    And

 16              I would like to go to Page 246 of Exhibit 71.

 17                                     (Exhibit 71 marked for

 18                                       identification.)

 19                            THE VIDEOGRAPHER:                        I'm so sorry, I

 20              missed that page.                  I apologize.

 21                            MR. NKWONTA:                  Sure.          Page 246.

 22         BY MR. NKWONTA:



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 153 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 292
   1                  Q.       Ms. Engelbrecht, do you recognize

   2        this document, Page 246 of Exhibit 71?

   3                  A.       Yes.

   4                  Q.       What is it?

   5                  A.       This was an e-mail sent to me by

   6        Fred Eshelman -- excuse me.                          This is an e-mail

   7        sent to, sent by Fred Eshelman to his consultant

   8        and copied me.

   9                  Q.       And was the e-mail directed to you?

 10                   A.       I'm not sure.

 11                            THE WITNESS:                  Could we scroll down?

 12                            I don't know.                   It could have been

 13              either to me or his consultant who he worked

 14              very closely with.

 15                            MR. NKWONTA:                  Okay.          Could you

 16              scroll backup to the first e-mail.

 17         BY MR. NKWONTA:

 18                   Q.       So first can you tell me who is Fred

 19         Eshelman?

 20                   A.       Fred Eshelman is someone who, on

 21         November the 5th, ostensibly at the behest of his

 22         two consultants, Tom Crawford being one, called



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 154 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 293
   1        True the Vote, first the consultants and then

   2        they put Mr. Eshelman on, in the interests of

   3        making a donation.

   4                           And that was the first time I had

   5        ever heard of or spoken with any of the three of

   6        them, the two consultants or Mr. Eshelman.

   7                  Q.       In Mr. Eshelman's e-mail, the second

   8        sentence says, "However I do want to know what

   9        money is accomplishing and where this is headed

 10         and the odds of winning."

 11                            What is he referring to?

 12                   A.       I, I don't know specifically.                                 I

 13         will say that his consultants, from what I

 14         gathered, had other activities going on that were

 15         more political that I don't know, I can't speak

 16         to.

 17                   Q.       Was his goal to overturn the results

 18         of the election?

 19                   A.       I don't know what his goal was.

 20                   Q.       Did he express to you or to anyone

 21         at True the Vote that his interest in overturning

 22         the results of the election?



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 155 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 294
   1                           THE VIDEOGRAPHER:                        Catherine, this

   2             is Joe.       It is not your -- I don't think it

   3             is your headset.                 I'm checking your

   4             bandwidth.          And when it dips low, you cut

   5             out.      I don't think it is anything that you

   6             can control, but if you have a new set of

   7             headphones, we will try that.

   8                           Counsel just so everyone knows the

   9             bandwidth is dipping quite low and it is

 10              cutting her off.

 11                            THE WITNESS:                  Is this any better?

 12                            THE VIDEOGRAPHER:                        You sound great.

 13                            THE WITNESS:                  Okay.          So the answer

 14              is not as far as I know with respect to what

 15              he communicated to True the Vote, no.

 16                            Whatever else they had going on, I

 17              don't know.

 18         BY MR. NKWONTA:

 19                   Q.       And if you look below at, there are

 20         a couple of references to the likelihood of a

 21         favorable outcome.                What is that referring to,

 22         what outcome?



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 156 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 295
   1                  A.       I'm going to make sure that I'm

   2        tracking with you.                Likelihood of a favorable

   3        outcome.

   4                           I, I don't know.                       I would presume

   5        this is what he is talking to his consultant

   6        about and I'm copied, but I don't specifically

   7        know.

   8                           MR. NKWONTA:                  Can we jump to

   9             Page 300, please.

 10         BY MR. NKWONTA:

 11                   Q.       Do you recognize the e-mail on

 12         Page 300, Ms. Engelbrecht?

 13                   A.       Yes, yes.

 14                   Q.       And can you tell me, you know, what

 15         is Mr. Eshelman seeking here in this e-mail?

 16                   A.       He is reaching out to me for

 17         information that -- actually let me take another

 18         second to read it because it has been a minute

 19         since I have seen this.

 20                   Q.       And actually can I ask that you read

 21         the e-mail out loud into the record.

 22                   A.       Sure. "Catherine, I hope we are all



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 157 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 303
   1                  A.        I, I don't know.                       I don't know if

   2        that refers to other activities he had going on

   3        with Tom.          I don't know.                Or maybe that he is

   4        reacting to the news.                    I shouldn't speculate.                        I

   5        don't know.         I do not know.                    That is my answer.

   6        I don't know.

   7                  Q.        If we go to Item Number 3, can you

   8        read into the record the action item there under

   9        Item Number 3?

 10                   A.        It says Number 3, "Status of Bopp

 11         cases by state, deal with Trump people and

 12         details, dates for orders by state, how long to

 13         implement.         Who is forensic team deciding bases

 14         for tests to prove fraud and present to courts?

 15         Strategy still county by county

 16         disqualification?"

 17                   Q.        What does the reference to deal with

 18         Trump people and details mean?

 19                   A.        In this context I -- deal with

 20         details -- I don't recall.

 21                   Q.        Were there any communications or

 22         coordinations with the Trump campaign or the



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 158 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 304
   1        Trump people relating to this effort?

   2                  A.       I know that others, you know, were

   3        in touch with them.                 We were not.

   4                           So, yeah, I mean, further up in this

   5        you can see where there was a comment made that

   6        Jim, in his individual capacity, had been on a

   7        call, but we were not otherwise engaged in any of

   8        that.

   9                           MR. NKWONTA:                  Can we go to Page 314.

 10         BY MR. NKWONTA:

 11                   Q.       Ms. Engelbrecht, do you recognize

 12         Page 314?

 13                   A.       Yes.

 14                   Q.       What is it?

 15                   A.       This is an e-mail that I sent to

 16         Mr. Eshelman post, post a call that we had.

 17                   Q.       And this was dated

 18         November 16th, 2020?

 19                   A.       Yes.

 20                   Q.       Can you read the first paragraph of

 21         that e-mail into the record?

 22                   A.       "Fred, I have attached the budget we



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 159 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 305
   1        provided to Tom and Dikran on November 5th.                                        Our

   2        not having full funding was well known and often

   3        discussed.         I had written in my 11/14 e-mail to

   4        you that it appeared our legal fees would have

   5        been covered by the Trump campaign which I

   6        described in a statement of our cash position,

   7        described as best as possible given the tight

   8        timeline with so many moving parts."

   9                  Q.       What do you mean -- sorry, continue.

 10                   A.       I didn't know if you wanted me to

 11         read the second paragraph.

 12                   Q.       Sure.

 13                   A.       Go ahead with your question.

 14                   Q.       Sure, why don't you read the second

 15         paragraph.

 16                   A.       "We have done a tremendous amount of

 17         work in the 11 days since we first met.                                    Have

 18         talked with Tom routinely about status and

 19         provided him with access to all comms, press

 20         releases and briefings.

 21                            "Tom and Dikran both asked that I

 22         communicate directly through them and indicated



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 160 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 306
   1        that the information was being passed to you.

   2        Moving forward I will keep you directly apprised

   3        of continued developments in the whistleblower

   4        situation unless I hear otherwise from you."

   5                  Q.       Now going back to the first

   6        paragraph and the second sentence, what did you

   7        mean that it appears that your legal fees would

   8        have been covered by the Trump campaign?

   9                  A.       Initially we had thought that our

 10         lawsuits would be, would, you know, be very

 11         expensive and cost -- you know, we had a budget

 12         anticipated around those lawsuits.

 13                            This is, this is a -- that is a

 14         ham-handed way of saying that the research was --

 15         and I don't understand all of the legal

 16         maneuverings or how cases come together

 17         necessarily.

 18                            But that our research was possibly

 19         going to be used in the move forward of the cases

 20         that would have been part of the Trump defense, I

 21         guess, or cases.

 22                            And, what this was attempting to



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 161 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 307
   1        communicate was that there would not be any legal

   2        fees.

   3                           So, when Mr. Eshelman was asking

   4        about the budget and so forth, I have -- you

   5        know, I had written this to say we would not have

   6        those expenses if the research was going to be

   7        used in a different direction.                              That is all that

   8        meant.

   9                  Q.       So it was your belief that the Trump

 10         campaign would pay for True the Vote's legal fees

 11         to pursue evidence of voter fraud and to pursue

 12         the lawsuits that True the Vote had filed?

 13                   A.       No, it was, this was just not --

 14         this was ill worded, but the intent was to say

 15         that we would not have legal expenses for these

 16         cases.      The cases wouldn't -- we wouldn't be a

 17         part of those anymore.

 18                            That, the, you know, they would

 19         be -- we wouldn't have that expense.

 20                   Q.       Because the phase would be covered

 21         by the Trump?

 22                   A.       Again, it is a ham-handed way to say



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 162 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 308
   1        it, but it was the research that was being done

   2        that we were covering the research for, we would

   3        no longer be a part of.                      If the Trump campaign

   4        wanted to use it, they would cover that and we'd

   5        be out, so we wouldn't have those expenses.

   6                  Q.       Why was the Trump campaign

   7        interested in covering your fees?

   8                  A.       Well, it wouldn't be covering our

   9        fees.     It would just be -- well, it wouldn't be

 10         covering our fees.                It would, we would have not

 11         needed to pursue the lawsuits.

 12                   Q.       And we discussed earlier how the

 13         post election effort in Georgia, and when I say

 14         post election, I'm referring to post November

 15         presidential election, the immediate post

 16         election effort in Georgia and the data analysis

 17         conducted by OPSEC was combined with the analysis

 18         conducted by OPSEC in advance of the, of the

 19         elector challenges for the runoff election.

 20                            Do you recall that?

 21                   A.       I recall us talking about broadly

 22         that in the context of that invoice and what it



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 163 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 313
   1        audiences and targeting based on the above."

   2                  Q.         This seems to be another discussion

   3        about upcoming Georgia work.

   4                             Do you recognize any of that or is

   5        any of that related to the work that you did with

   6        Gregg Phillips?

   7                  A.         Absolutely not, no.                         This is a --

   8        they are referring to -- Mr. Eshelman comes from

   9        North Carolina.              I had a sense from conversations

 10         with Tom that they had done things in North

 11         Carolina.          But, I don't know.                      We didn't do

 12         anything with them on any of this.

 13                             MS. SIEBERT:                  I'm sorry.            Sorry to

 14              interrupt.           What is the exhibit number here?

 15              I missed that.

 16                             MR. NKWONTA:                  71.

 17                             MS. SIEBERT:                  Thank you.

 18         BY MR. NKWONTA:

 19                   Q.        Did Mr. Eshelman fund any of the

 20         post-election activities that True the Vote

 21         engaged in, in Georgia?

 22                   A.         No.



www.DigitalEvidenceGroup.com          Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 164 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 314
   1                  Q.       I would like to turn back to True

   2        the Vote's statements about the election and

   3        activity and post election activities.

   4                           MR. NKWONTA:                  Can we pull this down

   5             and pull up Exhibit 63.

   6                                    (Exhibit 63 marked for

   7                                      identification.)

   8        BY MR. NKWONTA:

   9                  Q.       Ms. Engelbrecht, do you recognize

 10         Exhibit 63?

 11                   A.       That was a blog post to our website.

 12                   Q.       And is that posted on

 13         November 10th, 2020?

 14                   A.       According to this document, yes.

 15                   Q.       And that would have been

 16         approximately a week after the November election?

 17                   A.       Yes.

 18                   Q.       And can you read the third paragraph

 19         on Page 2 into the record, starting with, "Never

 20         in our history".

 21                   A.       "Never in our history has there been

 22         such blatant disregard for election integrity.



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 165 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 315
   1        During these pivotal times we refuse to stand on

   2        the sidelines.

   3                           "True the Vote will keep fighting to

   4        ensure 2020 election returns reflect the

   5        principle of one vote for one voter and to repair

   6        our broken elections once and for all."

   7                  Q.       And following that statement, the

   8        release makes reference to the Validate the Vote

   9        initiative that True the Vote recently launched;

 10         is that correct?

 11                   A.       Yes.

 12                   Q.       And that is the same initiative we

 13         discussed in Exhibit 1, correct?

 14                   A.       Yes.         Well, I'm not sure what

 15         Exhibit 1 was any longer, but we have discussed

 16         that, yes.

 17                   Q.       But that Validate the Vote document,

 18         right?

 19                   A.       I know the name is the same, yes.

 20                   Q.       So, True the Vote announces that it

 21         is launching this initiative that was described

 22         in Exhibit 1, and announces a whistleblower fund



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 166 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 316
   1        in excess of $1 million.                       Is that correct?

   2                  A.       Yes.

   3                  Q.       And was the purpose of that million

   4        dollars to reward people that came forward with

   5        evidence of voter fraud?

   6                  A.       The fund was to -- or the idea of

   7        the fund was to support people that would come

   8        forward, as we discussed previously, to have

   9        funds available should they be necessary for

 10         their legal support.

 11                            Also through this we were funding

 12         the state election or county election lawsuits.

 13                   Q.       Did you present any of the evidence

 14         that you obtained through this initiative to any

 15         of the courts or to -- or to Mr. Eshelman?

 16                   A.       I don't recall.                      I talked to his

 17         consultants daily.                I don't recall anything in

 18         specific.

 19                   Q.       Did True the Vote obtain any

 20         evidence of -- any credible evidence of criminal

 21         malfeasance as referenced in this press release

 22         after announcing this initiative?



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 167 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 317
   1                  A.       We did have some reports that we

   2        considered credible.

   3                  Q.       And did you submit those reports to

   4        anyone?

   5                  A.       Yes.         They have been submitted.

   6                  Q.       Where did you submit those reports?

   7                  A.       There are active investigations in

   8        Georgia and in Arizona, and I guess, those are

   9        the two active states.

 10                   Q.       What was the criminal malfeasance or

 11         misconduct identified in those reports or alleged

 12         in those reports?

 13                   A.       I don't -- I mean those are active

 14         investigations and our approach to this point has

 15         been that we don't comment on active

 16         investigations.

 17                   Q.       So, you are not willing to disclose

 18         or identify the nature of any of the reports of

 19         fraud or evidence of fraud that you received?

 20                            THE WITNESS:                  May I consult with

 21              counsel and just make sure I am answering the

 22              question properly?                    I just want to make sure



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 168 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 318
   1             I'm being respectful of all of the

   2             considerations here.

   3                           MS. SIEBERT:                  Um, okay.            I'm sorry.

   4             I'm coming in -- I came in halfway through

   5             this deposition and so I'm a little bit

   6             behind the eight ball as far as what has been

   7             testified to or not, regarding that before

   8             and the objections made.

   9                           MR. NKWONTA:                  I can give you a quick

 10              playback of where this is coming from.

 11                            MS. SIEBERT:                  Thank you, yes.

 12                            MR. NKWONTA:                  So, Jim and I had

 13              several discussions about consulting with the

 14              witness regarding a pending question.                                     And I

 15              objected on numerous occasions that it was

 16              improper to consult with the witness on a

 17              pending question, and I think that is

 18              probably where some of this is coming from.

 19                            But, I will caveat and say if the

 20              witness is consulting for the purpose of

 21              determining whether privilege applies, then

 22              you know, I for this, you know, one instance



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 169 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 321
   1        my question to be limited to the jurisdictions

   2        identified in the 30(b)(6) notice for True the

   3        Vote.

   4                           And you may answer.                          And you can

   5        also interpret my question to be limited to

   6        evidence obtained before this lawsuit was filed.

   7                           MS. SIEBERT:                  Thank you for that

   8             clarification.

   9                           MR. NKWONTA:                  Can the court reporter

 10              read back the last question before we went --

 11              before we went off the record.

 12                            (Whereupon, the record was read by

 13              the reporter as requested.)

 14                            THE WITNESS:                  Shall I answer?                 We

 15              have reported to the State of Georgia.                                      We

 16              have filed three complaints about

 17              observations and concerns that we have

 18              witnessed.

 19                            But that is the extent of it as we

 20              have filed these complaints that are now

 21              under active investigation.

 22         BY MR. NKWONTA:



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 170 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 322
   1                  Q.       Are you willing to disclose what

   2        those concerns are or what the subject of those

   3        complaints are?

   4                           MS. SIEBERT:                  Again, I just want to

   5             clarify my objection as far as scope and

   6             timeline and limited to the states in

   7             question.

   8                           Is that correct, are we still under

   9             that understanding?

 10                            MR. NKWONTA:                  Yes.

 11                            MS. SIEBERT:                  Okay.

 12                            THE WITNESS:                  Okay.          So, to that end

 13              I would say that what we -- the basis of our

 14              filings were regarding things that, and

 15              information post the filing of this lawsuit.

 16                            MR. NKWONTA:                  I would like to turn

 17              your attention to Exhibit 47.

 18                                     (Exhibit 47 marked for

 19                                       identification.)

 20         BY MR. NKWONTA:

 21                   Q.       This is an article published by Jim

 22         Hoft from the Gateway Pundit.                             Can you read the



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 171 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 323
   1        title of this article?

   2                  A.       "It's now clear:                       Trump will win the

   3        election -- Democrats will steal -- True the Vote

   4        offers essential tips on what you can do to stop

   5        the steal."

   6                  Q.       Do you recall offering comments or

   7        insight on this issue for this article?

   8                  A.       I do not recall.

   9                           MR. NKWONTA:                  Can you scroll down to

 10              Page 2 and to the highlighted paragraph on

 11              Page 2 -- or sorry, the paragraph right --

 12              third paragraph from the bottom, starting

 13              with, "Tonight."

 14         BY MR. NKWONTA:

 15                   Q.       So the article says, "Tonight the

 16         Gateway Pundit reached out to Catherine

 17         Engelbrecht at True the Vote to offer tips to

 18         ordinary Americans to prevent the Democrat plan

 19         to steal the election in 2020.                              Catherine

 20         Engelbrecht wrote back with these essential

 21         tips."

 22                            Do you dispute this characterization



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 172 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 324
   1        or this statement from this article?

   2                  A.       No, it is entirely possible that he

   3        called me.

   4                  Q.       And it is possible that you

   5        responded with essential tips?

   6                  A.       And it is possible that I responded,

   7        yes.

   8                           MR. NKWONTA:                  Could we pull up

   9             Exhibit 44.

 10                                     (Exhibit 44 marked for

 11                                       identification.)

 12         BY MR. NKWONTA:

 13                   Q.       Ms. Engelbrecht, have you stated

 14         publicly or elsewhere before that some counties'

 15         ballots are counted in Spain?

 16                   A.       I don't recall.                      I'm generally aware

 17         of the ballot counting software platforms that

 18         are multinational.                But I don't, I don't -- I

 19         have never seen this document before and I'm not

 20         certain what it might contain.

 21                   Q.       Have you expressed a view before

 22         that some states have their votes counted in



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 173 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 325
   1        Spain?

   2                  A.       I don't recall.

   3                  Q.       Do you have any reason to dispute

   4        this quote in this Brightbart article?

   5                  A.       I have no context around it.                                I'm

   6        aware of softwares that are used by states that

   7        have, as a practical matter of their structure,

   8        server ports in Spain.                     That is the extent of

   9        what I do know is true, but that is not at all

 10         uncommon in software.

 11                            So, I don't know what this -- you

 12         know, what else may be here.                            I don't know.

 13                            MR. NKWONTA:                  Can you scroll down to

 14              Page 3.

 15         BY MR. NKWONTA:

 16                   Q.       And Page 3 of this article quotes

 17         you.    Can you read that quote into the record?

 18                   A.       "There is a tabulation company

 19         called Sidel that does" --, jeez, spelling.

 20                            "There is a tabulation company

 21         called Sidel that does have Cloud, I guess,

 22         cold-based servers in Barcelona.                                And yes, it is



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 174 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 326
   1        true that the tabulation of votes occurs in that

   2        way in many states that could use that system."

   3                  Q.       Is that an accurate quote?

   4                  A.       There is a tabulation company called

   5        Sidel that has cloud-based servers in Barcelona,

   6        yes, that is true.

   7                  Q.       And is it your view, based on that

   8        that, that some states have their ballots counted

   9        in Spain?

 10                   A.       I think that that is a leap to a

 11         conclusion, but it is certainly true that if you

 12         are using a company that has cloud-based servers

 13         in Spain, and that is in Barcelona, that is a

 14         part of a process that may or may not impact the

 15         vote count.        But it is part of a process

 16         nonetheless.

 17                   Q.       Briefly I want to return back to the

 18         voter challenges.

 19                            Are you familiar or aware of any

 20         challengers who withdrew or asked to withdraw

 21         their challenges during the, during the --

 22                   A.       Yes, I am familiar with one, yes.



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 175 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 327
   1        Sorry, sorry.

   2                  Q.       And who is that challenger that

   3        asked to withdraw their challenge?

   4                  A.       I don't recall his name.

   5                  Q.       Was it Joe Martin?

   6                  A.       That does sound familiar, yes.                                  That

   7        sounds correct.

   8                  Q.       And do you recall why Joe Martin

   9        chose to withdraw his challenge?

 10                   A.       My general recollection is that in

 11         looking at names on a challenger list he

 12         identified that a couple of them were at long --

 13         were residents at long-term care facilities.

 14                            And he didn't -- for that purpose he

 15         didn't want to move forward.                            And he notified

 16         Amy.    And we notified -- as I understand it, we

 17         notified the county.                  And that was -- that is the

 18         end of it as far as I know or as far as I recall.

 19                   Q.       And did you determine or make any

 20         efforts to determine whether those voters were

 21         properly included in the challenge list?

 22                   A.       We didn't submit the challenge list



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 176 of 180
1/26/2022                       Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                 Confidential - Pursuant to Protective Order


                                                                                                Page 328
   1        after he declined to participate.                                  We, on his

   2        behalf, just rescinded the challenges, as I

   3        recall.

   4                  Q.         So you submitted the challenges, but

   5        then withdrew them after Mr. Martin requested

   6        that they be withdrawn; is that correct?

   7                  A.         I believe that that is correct.                                 I

   8        am not certain, but I believe that that is

   9        correct.

 10                   Q.        Were there any other challengers who

 11         requested that their challenges be withdrawn?

 12                   A.        None that I am aware of or that I

 13         recall.

 14                   Q.        And you submitted, at some point in

 15         this case, a True the Vote and other defendants

 16         submitted a counterclaim or asserted a

 17         counterclaim for voter intimidation.

 18                             And can you explain -- can you

 19         explain what caused that intimidation?

 20                             MS. SIEBERT:                  I'm going to object to

 21              that.         That counterclaim has been completely

 22              dismissed and it is no longer relevant or a



www.DigitalEvidenceGroup.com          Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 177 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 329
   1             part of this complaint.

   2                           The court has already dismissed

   3             those claims.              It wouldn't be relevant to any

   4             claim or defense in this case.

   5        BY MR. NKWONTA:

   6                  Q.       You may answer, Ms. Engelbrecht.

   7                  A.       I will just take advice of counsel

   8        on that.

   9                           MS. SIEBERT:                  Catherine, you can go

 10              ahead and answer.                  I'm sorry.                I didn't make

 11              that clear.            You can go ahead and answer but

 12              that is our objection.

 13                            THE WITNESS:                  Okay.          I'm so sorry.

 14              I just want to make -- can you repeat the

 15              question again.                I want to make sure I'm

 16              framing it properly in my mind.

 17         BY MR. NKWONTA:

 18                   Q.       Sure.          And I will narrow the

 19         question a little bit.

 20                            In what way were -- was True the

 21         Vote and perhaps yourself as well intimidated by

 22         these legal proceedings?



www.DigitalEvidenceGroup.com         Digital Evidence Group C'rt 2022                             202-232-0646
Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 178 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 330
   1                  A.       Well, True the Vote, you know,

   2        received e-mails and calls particularly to the

   3        election hotline that were, you know, unkind.

   4                           But that was really not the

   5        intimidation.          The intimidation that I was most

   6        troubled by was that suffered by the electors who

   7        participated, and as a consequence of that had

   8        their, there were docs online, had businesses

   9        targeted, had threats sent to them in e-mail and

 10         calls, you know, to their businesses.

 11                   Q.       And so you've told me about the

 12         electors.

 13                            And in talking about True the Vote

 14         and yourself specifically, were you intimidated

 15         by the legal proceedings or by the allegations in

 16         the lawsuit?

 17                            MS. SIEBERT:                  Same objections.                  I

 18              will just make a continuing objection based

 19              upon the same -- for this entire line of

 20              questioning as earlier.

 21                            THE WITNESS:                  Yeah, was I

 22              intimidated by the lawsuit?                              No.     I mean, I'm



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 179 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 331
   1             just concerned about what was happening to

   2             the volunteers.

   3                           MR. NKWONTA:                  And can we take a

   4             quick five-minute break.                           I think I am just

   5             about done.            I just want to make sure that we

   6             have covered everything.

   7                           THE VIDEOGRAPHER:                        We are now going

   8             off the video record.                       The time is 5:04 p.m.

   9                           (Recess taken -- 5:04 p.m.)

 10                            (After recess -- 5:09 p.m.)

 11                            THE VIDEOGRAPHER:                        We are now going

 12              back on the video record.                            The time is

 13              5:09 p.m.

 14         BY MR. NKWONTA:

 15                   Q.       Ms. Engelbrecht, we just took a

 16         short break.         Do you understand you are still

 17         under oath?

 18                   A.       Yes.

 19                   Q.       I just have a couple of quick

 20         questions remaining.

 21                            First, can you explain to me the

 22         term or have you heard of the term the Photo



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Case 2:20-cv-00302-SCJ Document 156-15 Filed 05/16/22 Page 180 of 180
1/26/2022                      Fair Fight, Inc. et al. v. True the Vote, et al.   Catherine Engelbrecht 30(b)(6)
                                Confidential - Pursuant to Protective Order


                                                                                               Page 332
   1        Ernesto Program?

   2                  A.       Yes.

   3                  Q.       What is the Photo Ernesto

   4        Initiative?

   5                  A.       That was an initiative we had, True

   6        the Vote had for a brief period of time, maybe, I

   7        don't recall the years, 2012/2013, somewhere in

   8        there.

   9                           And, it was led by someone.                               And her

 10         point and focus in the initiative was to --

 11         basically everything we did was translated into

 12         Spanish and focused on working in Latino

 13         communities in that regard.

 14                            And it was -- and the spokesperson

 15         for that was Latina and, you know, was very

 16         active in that community and speaking Spanish

 17         fluently so it was useful for those folks.

 18                   Q.       What exactly was True the Vote doing

 19         in those Latino communities?

 20                   A.       Everything from helping to do

 21         training for voter registration guides,

 22         clarifying on voter registration intake or how to



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